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Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CF5CF-DBDFCC38-89]

Sent: 2/12/2025 7:35:56 PM

To: Hanson, Paige (Catherine) [hanson.catherine@epa.gov]

Subject: RE: Memorandum on Review of Financial Assistance Programs

Hi Paige, any chance you have the program IDs for these? (Or other info that would link to usaspending.gov ?)
So far we are googling each of these individually, and finding similar-sounding programs IDs, but it’s not 1:1.

Thank you!
Kathryn

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Tuesday, February 11, 2025 3:29 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Killian, Cole <Killian.Ccole@epa.gov>
Subject: FW: Memorandum on Review of Financial Assistance Programs

FYI

Travis Voyles
C: (202) 787-0595

From: Voyles, Travis

Sent: Friday, February 7, 2025 5:17 PM

To: Patrick, Kimberly <Patrick.Kimberly@epa.gov>; Treml, Gregg <Trem!.Gregg@epa.gov>
Cc: Hanson, Paige (Catherine) <hanson.catherine@epa.gov>

Subject: RE: Memorandum on Review of Financial Assistance Programs

Good Afternoon Gregg and Kimberly—

Consistent with the Memorandum on Review of Financial Assistance Programs, EPA personnel have identified the below
grants programs as having potential inconsistencies with necessary financial and oversight procedural requirements or
grant conditions of awards or programs. Out of an abundance of caution given the concerns raised and to the ensure the
ability for a thorough review and investigation to occur and ensure compliance, please suspend all activity unless
otherwise authorized.

Air Quality Sensors in Low Income and Disadvantaged Communities (OAR) (STAG)
Clean Heavy-Duty Vehicles (OAR) (STAG)

Clean Heavy-Duty Vehicles in Nonattainment Areas (OAR) (STAG)

Clean School Bus Program (STAG)

Competitive Grants (OAR) (STAG)

Diesel Emissions Reductions (OAR) (STAG)

Emissions from Wood Heaters (OAR/ORD) (STAG)

Environmental and Climate Justice Block Grants — Technical Assistance (OEJECR)
Environmental and Climate Justice Block Grants (OEJECR)

Environmental Product Declaration Assistance (OCSPP/ORD/OAR)

Fenceline Air Monitoring and Screening Air Monitoring (OAR/ORD) (STAG)
Funding for the Implementation of the American Innovation and Manufacturing Act (OAR)
Funding for Section 211 of the Clean Air Act — Advanced Biofuels (OAR)

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GHG Air Pollution Implementation Grants (OAR) (STAG)

GHG and Zero Emission Standards for Mobile Sources (OAR) (STAG)

GHG Pollution Planning Grants (OAR) (STAG)

Grants to Reduce Air Pollution at Ports (OAR) (STAG)

Grants to Reduce Air Pollution at Ports in Nonattainment Areas (OAR) (STAG)

Greenhouse Gas Corporate Reporting (OAR) (STAG)

Greenhouse Gas Reduction Fund — General Assistance (OA) (STAG)

Greenhouse Gas Reduction Fund — Low Income and Disadvantaged Communities (OA) (STAG)
Greenhouse Gas Reduction Fund — Zero Emision Technologies (OA) (STAG)

Implementation / Accountability (OAR)

Implementation and Compliance (OECA)

Industry Outreach (OAR)

Low Embodied Carbon Labeling for Construction Materials for Transportation Methane Monitoring (OCSPP/OAR/ORD)
Multipollutant Monitoring Stations (OAR) (STAG)

State/Tribal/Local Government Outreach (OAR)

Technical Assistance for Low Income Communities (OAR)

Please let me know if you have any questions.
Thanks,

Travis

Travis Voyles
Office of the Administrator
C: (202) 787-0595

From: Voyles, Travis

Sent: Friday, February 7, 2025 9:03 AM

To: Patrick, Kimberly <Patrick.Kimberly@epa.gov>; Treml, Gregg <Trem!.Gregg@epa.gov>

Ce: McIntosh, Chad <Mclntosh.Cchad@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: RE: Memorandum on Review of Financial Assistance Programs

Good Morning Gregg and Kimberly—

As detailed in Chad’s email last night, he directed any questions to OCFO and OMS. We can find some time early next
week to walk through a more thorough process.

In the meantime, if we are notified by any EPA personnel of any inconsistencies with necessary financial and oversight
procedural requirements or grant conditions of awards or programs, then we should suspend all activity unless otherwise
authorized, pending the competition of a thorough review and investigation to ensure compliance.

Let me know if you have any questions, otherwise we can discuss further next week.

Thanks,

Travis

Travis Voyles
Office of the Administrator
C: (202) 787-0595

EPA_00036936
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 3 of 93

From: McIntosh, Chad <mcintosh.chad@epa.gov>

Sent: Thursday, February 6, 2025 6:39 PM

To: Career_Deputy_Assistant_Administrators <Career Deputy Assistant Administrators@epa.gov>;
Career_Deputy_Regional_Administrators <Career Deputy Regional Administrators@epa.gov>;
Career_Deputy_Associate_Administrators <Career Deputy Associate Administrators@epa.gov>; Treml, Gregg
<Treml.Gregg@epa.gov>; Patrick, Kimberly <Patrick.Kimberly@epa.gov>

Cc: Voyles, Travis <voyles.travis@epa.gov>

Subject: Memorandum on Review of Financial Assistance Programs

All—

Please find attached a Memorandum on Review of Financial Assistance Programs. Thank you for your continued service
to ensure the effective implementation and use of taxpayer dollars.

Please reach out to OCFO and OMS for any further guidance.

Chad McIntosh
Acting Deputy Administrator

EPA_00036937
2:25-Cv-02152-RMG

Date Filed 04/21/25

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Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CF5CF-DBDFCC38-89]

Sent: 2/19/2025 4:33:19 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]

Subject: This is the list that were politically approved to cancel

From: Voyles, Travis <voyles.travis@epa.gov>
Sent: Thursday, February 13, 2025 10:18 PM
To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Killian, Cole <Killian.Ccole@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

Thank you!
And below is the test batch run that just got approved to cancel. We will go back into the spreadsheet and mark these as
“Approved to Cancel”.
Date Terms and
Cancellation PIID we Rationale Notes from EAS Description Recipient Name
Conditions
Process Started
2/11/2025 68HERH24F0023 | No notice EO: Ending Technical assistance for ENDYNA, INC.
required. radical and planning, development,
Term for wasteful implementation, and reporting
convenience. | government assistance related to the
FAR 52.249 DEI programs environmental climate justice
and program.
preferencing
2/11/2025 68HERH23F0237 | No notice EO: Ending The contractor will fulfill ENDYNA, INC.
required. radical and OEJECR’s need for EJ and
Term for wasteful Civil Rights programming and
convenience. | government learning material in support of
FAR 52.249 DEI programs implementing EJ and Civil
and rights considerations into EPA
preferencing. If | policies, programs, and
we were doing activities.
this, we should
insource.

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2/11/2025 68HEOP24F0031 | No notice EO: Ending The Suppliers are encouraged to | HUMAN
required. radical and bid on training 40 employees CAPTIAL
Term for wasteful for 3 days of training over a 5- RESOURCES &
convenience. | government week training period, spread out | CONCEPTS INC
FAR 52.249 DEI programs over 5 months that is in person

and training. The training will focus

preferencing on critical leadership skills and
should include some training on
Environmental Justice,
Working with Communities,
and Diversity Equity Inclusion
and Accessibility (DEIA).

2/11/2025 68HERC24F0330 | No notice Waste: Should The EPA Office of Research PEGASUS
required. be in-sourced. and Development (ORD) is TECHNICAL
Term for (Training collaborating with Region 5 to SERVICES, INC
convenience. | material develop Health Impact
FAR 52.249 development.) Assessment (HIA) learning

And HIA objectives and training

probably has a materials for new and existing

DEI angle, EPA staff, and potentially

though itis not | external partners, such as states,

explicit here. to understand and perform HIA
in an EPA context. ORD has a
long history of doing HIA
research and practice. Based on
our experience, we are well-
positioned to be a resource for
the Agency as it is building
capacity to do cumulative
impact assessment (CIA), of
which one existing
methodology is Health Impact
Assessment. Cumulative impact
assessment is a priority by
which EPA has committed to
addressing environmental
justice issues.

2/11/2025 68HERH23F0327 | No notice Waste: Retreats | The contractor shall provide GENERAL
required. might be strategic planning, facilitation DYNAMICS
Term for wasteful, and and leadership support for the INFORMATION
convenience. external Office of Land and Emergency | TECHNOLOGY,
FAR 52.249 contractor Management (OLEM), Office INC.

support for a of Emergency Management

retreat is (OEM) conferences and

definitely meetings related to OEM senior

wasteful. management and staff office
wide retreats. Support for this
task order should also include
an experienced, skillful
facilitator to conduct interviews
with each OEM staff and
manager, provide
developmental training
exercises and training materials,
pre-retreat development of an
agenda and topical discussions
to include strategic planning,
and provide highlights after the
meeting.

EPA_00036939

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2/11/2025 68HERC23P0042 | No notice EO: Ending Procure Gartner HR research GARTNER, INC.
required. radical and and advisory services covering
Term for wasteful employee experience, diversity,
convenience. | government equity, inclusion and
FAR 52.249 DEI programs accessibility, and work life
and integration.
preferencing.
2/11/2025 68HERH24P0143 | No notice EO: Ending CONSULTING SERVICES TO | LIGHTHOUSE
required. radical and DEVELOP A STRATEGY
Term for wasteful COMPREHENSIVE PLAN CONSULTING
convenience. government AND STRATEGY WHICH LLC
FAR 52.249 DEI programs ADDRESSES DIVERSITY,
and EQUITY, INCLUSION,
preferencing. ACCESSIBILITY, AND
STAFF ENGAGEMENT IN A
WAY THAT IS
MEANINGFUL, RELEVANT,
AND APPROPRIATE FOR A
STEM AUDIENCE.
TRAINING OFFERED
SHOULD BE
2/11/2025 68HERC23F0428 | No notice EO: Ending SUPPORT FOR EXPANDING | ICF
required. radical and THE ENVIRONMENTAL INCORPORATED,
Term for wasteful JUSTICE CONTENT WITHIN | L.L.C.
convenience. government ACE (AMERICA'S
FAR 52.249 DEI programs CHILDREN AND THE
and ENVIRONMENT)
preferencing.
2/11/2025 68HERH24F0409 | No notice EO: Ending Provides administrative support | INTSCI-ENDYNA
required. radical and and meeting planning support to | LLC
Term for wasteful the office of environmental
convenience. | government justice and external civil rights.
FAR 52.249 DEI programs
and
preferencing.
. . oe Base and All Base Total Outstanding
Public Contract Description . Exercised eo.
Options Value : Obligation Value
Options Value
BPAS 68HERH22A0018 $117,931,407.48 | $70,122,340.16 | $64,668,605.16 | $53,262,802.32
THROUGH
68HERH22A0029. THIS IS
A NEW COMPETITIVE
EARTH T&M/FFP HYBRID
CALL ORDER FOR
OEJECR ENTITLED,
"TECHNICAL
ASSISTANCE FOR GRANT
APPLICANTS/RECIPIENTS
AND ADMINISTRATIVE
SUPPORT TO EPA UNDER
THE CLEAN AIR ACT
SECTION

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THIS CALL ORDER IS TO | $6,895,921.10 $3,206,754.60 | $750,000.00 $6,145,921.10

AWARD A CONTRACT

FOR ENVIRONMENTAL

JUSTICE AND CIVIL

RIGHTS PROGRAMMING

AND LEARNING.
$228,292.84 $43,000.00 $43,000.00 $185,292.84
$248,464.00 $109,528.00 $109,528.00 $138,936.00

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TASK ORDER FOR
FACILITATION,
LEADERSHIP
DEVELOPMENT, AND
OFFICE-WIDE RETREAT
SUPPORT (FOLLOW-ON
TO EP-17-W-003/0013)
UNDER MULTIPLE-
AWARD BRIDGE
CONTRACTS FOR OFFICE
OF LAND AND
EMERGENCY
MANAGEMENT, OFFICE
OF EMERGENCY
MANAGEMENT.

$108,255.27

Date Filed 04/21/25

$108,255.27

Entry Number 109

$64,533.82

$43,721.45

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$95,922.00

$95,922.00

$95,922.00

$0.00

CONSULTING SERVICES
TO DEVELOP A
COMPREHENSIVE PLAN
AND STRATEGY WHICH
ADDRESSES DIVERSITY,
EQUITY, INCLUSION,
ACCESSIBILITY, AND
STAFF ENGAGEMENT IN
A WAY THAT IS
MEANINGFUL,
RELEVANT, AND
APPROPRIATE FOR A
STEM AUDIENCE.
TRAINING OFFERED
SHOULD BE

$180,000.00

$180,000.00

$180,000.00

$0.00

SUPPORT FOR
EXPANDING THE
ENVIRONMENTAL
JUSTICE CONTENT
WITHIN ACE (AMERICA'S
CHILDREN AND THE
ENVIRONMENT)

$985,889

$985,889

$985,889

CONTRACTOR SUPPORT
FOR OFFICE OF
ENVIRONMENTAL
JUSTICE AND EXTERNAL
CIVIL RIGHTS, OFFICE OF
POLICY, PARTNERSHIPS
AND PROGRAM
DEVELOPMENT,
PARTNERSHIPS AND
COLLABORATION
DIVISION.

$257,672.10

$257,672.10

$257,672.10

$0.00

EPA_00036942
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 9 of 93

Travis Voyles
C: (202) 787-0595

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Thursday, February 13, 2025 6:11 PM

To: Voyles, Travis <voyles.travis@epa.gov>; Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine)
<hanson.catherine@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

Hi everyone,

Keeping up the cadence today, we have added to the queue a list of 71 grants that were all signed before July 1,
2024, worth $119M (ceiling; savings will be lower once we subtract obligations). The new tab is called “Feb 13
grants to cancel”.

It was great to put 5 of the “gold bars” on this list, that are signed before July 1! (The majority of those were
signed after July 1.) We have marked those 5 rows in blue, because gold is too hard to read. Total award value
for those 5 is $36.9M, of which $27.8M has not yet been obligated. We are calling them “gold bars” because
they were awards to grant makers who plan to give subawards. 4 of the 5 are part of the Thriving communities
grantmaking program that Lee cancelled part of earlier today.

Best,
Kathryn

From: Loving, Kathryn

Sent: Thursday, February 13, 2025 9:22 AM

To: Voyles, Travis <voyles.travis@epa.gov>; Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine)
<hanson.catherine@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

I have added a column “T&C” that indicates no notice and comment period required for the contracts and grants
we already sent you. As you can imagine, the DOGE team has lawyers that are pretty experienced with grant
and contract cancellation at this point, so that’s what that is based on!

I will also add that the careers in EPA OMS are already supporting us on this — they are the ones who will be
executing the cancellation on your greenlight, not us. They see no issues with cancelling the Feb 11 list of
contracts, and we’re sharing the Feb 12 list with them now. They seem very knowledgeable about this topic, so
I think you should trust them on how to cancel properly!

Kathryn

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Thursday, February 13, 2025 6:33 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine)
<hanson.catherine@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Subject: Re: Loving, Kathryn shared "contract_details" with you

EPA_00036943
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Thank you so much! This is really helpful. Paige and I had a good discussion with the Administrator last night
reviewing the examples and process. One aspect he raised that we just want to ensure we are covering when
taking the action to cancel that we are doing it reflective of any terms/conditions/notification requirements in
the contract or grant. Is that something y’all feel you are able to capture in your review or we can engage OMS
to quickly get us that details.

Otherwise he liked the process and agrees that we’ll be able to quickly move through reviewing these once that
element is addressed.

Sorry again to add one more aspect, but with that I believe we’ll be able to cover all the elements requested by
the Administrator.

Get Outlook for iOS

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Wednesday, February 12, 2025 6:47:34 PM

To: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>; Killian, Cole
<Killian.Cole@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

Hi all, thank you so much for taking a look at the Feb 11 contracts last night! I moved the rows that were more
controversial over to the “contracts to review” tab. (e.g. if Paige flagged.) The careers are ready to hit cancel on
the rest, pending a green light from you all!

In addition, we added a new tab “Feb 12 contracts to cancel” with a new tranche of contracts we found today.
We’d love your review on those as well.

Similar story for the grants — the grants that Paige flagged are moved over to “grants for further review”. They
are all under 2 grant programs EPA has already halted, and were all signed prior to July 1, 2024, so we think
they will be straightforward to cancel once you give a green light. We did not add any new grants today; maybe

tomorrow

And in all tabs there is now a “reason” column to justify cancellation.

Best,
Kathryn

From: Loving, Kathryn

Sent: Tuesday, February 11, 2025 7:51 PM

To: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>; Killian, Cole
<Killian.Cole@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>

Subject: Loving, Kathryn shared "contract_details" with you

=

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Loving, Kathryn invited you to edit a file

Hi Travis, as we discussed today, here's a list of contracts and grants that we want to push
forward to cancellation, and keep the momentum going! We removed the ones we thought
were yellow flags, so we think these are pretty uncontroversial, but we added a column "AO
reviewed", for your team to add any greenlight or flags.

Thanks!
Kathryn

fw
Eg==| contract details

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EPA

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Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CF5CF-DBDFCC38-89]

Sent: 2/19/2025 4:34:02 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]

Subject: FW: Contract Terminations Daily Report 2025-02-17

Attachments: Contract_Terminations_2025-02-17.xlsx

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Tuesday, February 18, 2025 6:12 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Killian, Cole <Killian.Ccole@epa.gov>
Subject: Fw: Contract Terminations Daily Report 2025-02-17

Still need to add some details to the report but this is yesterdays.

Dan
202-355-4943

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov <OMS-ARM-OAS-
OfficeofAcquisitionSolutions@epa.gov>

Sent: Monday, February 17, 2025 10:01 AM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Hublar, Jennifer <Hublar. Jennifer@epa.gov>

Cc: Burnett-Bakr, Robbin <Burnett-Bakr.Robbin@epa.gov>; Legare, Pamela <Legare.Pamela@epa.gov>;
Rogers, JoanB <Rogers.JoanB@epa.gov>

Subject: Contract Terminations Daily Report 2025-02-17

Attached is the daily Contract Terminations report for 2025-02-17.

EPA_00036946
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 13 of 93

Message

From: Loving, Kathryn [Loving.Kathryn@epa.gov]

Sent: 2/22/2025 9:20:38 PM

To: Josh Gruenbaum - Q [josh.gruenbaum @gsa.gov]
Subject: Fw: List of Grant Terminations - February 20

This was the planned list of grants that were to be announced on Sunday, that got announced on Saturday
instead!

Get Outlook for iOS

From: Coogan, Daniel <Coogan.Daniel@epa.gov>
Sent: Friday, February 21, 2025 11:53:31 AM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Cc: Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: FW: List of Grant Terminations - February 20

Here you go. (I am crossing off the one we are not including).

From: Coogan, Daniel

Sent: Thursday, February 20, 2025 12:25 PM

To: Wise, Melissa <wise.melissa@epa.gov>
Subject: List of Grant Terminations - February 20

Melissa, can we please begin working with the GMOs to terminate the following 22 grants. I received direction from
political leadership that we are to cancel these.

Financial Award Total Remaining Recipient Name
Account Amount Outlayed Amount
Identifier Amount (Estimate)
Number (Estimate)
(FAIN)
13746681 | $8,000,000 $0.00 | $8,000,000.00 | DEEP SOUTH CENTER FOR ENVIRONMENTAL
JUSTICE INC

84061101 | $8,000,000 | $1,564,072.97 | $6,435,927.03 | INSTITUTE FOR SUSTAINABLE COMMUNITIES
84061101 | $8,000,000 | $2,006,774.22 | $5,993,225.78 | INSTITUTE FOR SUSTAINABLE COMMUNITIES
95314201 | $5,000,000 $449,582.62 | $4,550,417.38 | NATIONAL WILDLIFE FEDERATION

95334801 $500,000 $500,000.00 | NUEVA ESPERANZA, INC.

95338201 $500,000 $500,000.00 | APPALACHIAN VOICES

95341301 | $8,000,000 $839,393.02 | $7,160,606.98 | GREEN & HEALTHY HOMES INITIATIVE INC
96701501 | $5,000,000 | $1,069,922.66 | $3,930,077.34 | WICHITA STATE UNIVERSITY

$5,000,000 | $1,278,176.09 | $3,721,823.91 | REGENTS OF THE UNIVERSITY OF MINNESOTA

00E03450

00A01436 $500,000 $500,000.00 | NEW HAVEN ECOLOGY PROJECT INC

QOEO345+ | $4,000,000 | $1324.675-77 | $2,675,32423 | BIG_NEP

EPA_00036960
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00E03682 | $8,000,000 $354,411.16 | $7,645,588.84 | MINNEAPOLIS FOUNDATION

00110501 $4,000,000 $91,832.00 | $3,908,168.00 | MONTANA STATE UNIVERSITY

02F50601 $500,000 $500,000.00 | BLACK UNITED FUND OF TEXAS, INC.

02F50801 $500,000 $500,000.00 | EARTH CARE INTERNATIONAL

02356601 $500,000 $500,000.00 | OREGON COAST VISITORS ASSOCIATION, INC.

02363801 $8,000,000 $991,565.58 | $7,008,434.42 | PHILANTHROPY NORTHWEST

03D03124 $500,000 $67,487.25 $432,512.75 | PARKS ALLIANCE OF LOUISVILLE, INC.

98T65801 $5,100,000 $908,057.59 | $4,191,942.41 | SAN DIEGO STATE UNIVERSITY FOUNDATION

98T88701 $500,000 $72,910.10 $427,089.90 | BAYVIEW HUNTERS POINT COMMUNITY
ADVOCATES, INC.

98T91201 $500,000 $500,000.00 | COUNCIL FOR NATIVE HAWAIIAN
ADVANCEMENT

98T91501 $500,000 $11,350.40 $488,649.60 | THE FRIENDSHIP HOUSE ASSOCIATION OF
AMERICAN INDIANS

Dan

EPA_00036961

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 15 of 93

Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CFSCF-DBDFCC38-89]
Sent: 2/24/2025 3:06:43 PM

To: Vaseliou, Molly [Vaseliou.Molly@epa.gov]
cc: Jehling, Erica [Jehling.Erica@epa.gov]
Subject: Another X post about contracts?

Attachments: Contract_Terminations_withAmounts_2025-02-21.xlsx

Good morning Molly — I wanted to run this list by you before I report to the DOGE team.

I think we actually already tweeted about $45M of the cancelled contracts included in this list, so to avoid re-
reporting old news, I think the statement here would be

“EPA has terminated 24 more contracts, helping the American taxpayer avoid another $77M in costs”. Do
you/Lee want to post this or should DOGE do it?

Kathryn

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, February 21, 2025 2:11 PM

To: Jehling, Erica <Jehling.Erica@ epa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>

Subject: FW: Contract Terminations Daily Report with amounts 2025-02-21

Take a look and let me know if you are good with this report. This is what I was thinking as final for the daily
contracts report and will facilitate WH reporting.

W/r/t to reporting “savings”/ “cost avoidance’, I recommend using unobligated balances.

A social media worthy bite based on today’s report might be: “In less than two weeks, EPA DOGE has
terminated 29 contracts, helping the American taxpayer avoid over $121M in costs.” (Deferring to the media
folks on editioralizing with “wasteful” et al adjectives.)

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov <OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov>
Sent: Friday, February 21, 2025 2:02 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Hublar, Jennifer <Hublar.Jennifer@epa.gov>

Cc: Legare, Pamela <Legare.Pamela@epa.gov>; Rogers, JoanB <Rogers.JoanB@epa.gov>; Burnett-Bakr, Robbin <Burnett-
Bakr.Robbin@epa.gov>

Subject: Contract Terminations Daily Report with amounts 2025-02-21

Attached is the Daily Contract Terminations Report with award ceiling 2025-02-21, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

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Original file name:

Contract_Terminations_withAmounts_2025-02-21.xIsx

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Original file name:

EPA - Contract Termination Log Feb 24.xIsx

EPA_00036972 - EPA_00036988
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 18 of 93

Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CF5CF-DBDFCC38-89]

Sent: 2/24/2025 11:34:18 PM

To: EPAExecSec [EPAExecSec@epa.gov]

Subject: X/DOGE_EPA: Investigation request, into Chattanooga, TN

We received a lead tonight that there is major money laundering/kickbacks happening in Chattanooga
Tennessee using the EPA storm water fees and Federal monies as a pass through but not going to is intended
destination like USAID. Here is information on Chattanooga and it's millions. The EPA Auditors/Feds need to
come down to Chattanooga and do a audit deep dive. This is huge because Chattanooga is one of the two WEF
SMART CITIES and the epicenter of a lot of this NGO activitie, child trafficking. We are working with others
on those activities. Here is what DOGE knows about the EPA Money Total Direct EPA Funding for
Chattanooga Direct Grants and Loans Identified: $186 million (WIFIA loan, 2022) $500,000 (Brownfields,
2021) $19.5—$20 million (Community Change Grant, 2024) $20 million (CWSRF loan, 2023, via
Tennessee)Subtotal: Approximately $226-$226.5 million in direct EPA-linked funding specifically for
Chattanooga projects with stormwater components. Additional Context: Chattanooga’s broader stormwater and
sewer efforts (e.g., $513 million planned from 2020-2030 under the consent decree’s second phase) rely on a
mix of EPA funding, state contributions, and local resources.

Not all of this is direct EPA money, but EPA programs like WIFIA and CWSRF significantly reduce costs
through low-interest loans and grants.

The second part is the City of Chattanooga is still actively doing DEI training to city employees. We saw their
latest training information and still there and they have a Chief Equity Officer in City Gov with a team of 10
under them, so this could be grounds to pull all Federal funding, not to mention Dept of Transportation funding
and other funding to Chattanooga unitl these programs are removed. However the EPA embezzlemet is much
greater story.

Here is everything we know since Biden was in office. Below is a bulleted list of federal monies received by the
City of Chattanooga, Tennessee, across all federal government programs since 2020, based on available data as
of February 20, 2025. This list includes specific grants, loans, and allocations identified from various federal
sources such as the EPA, HUD, DOT, DOE, and others, with a focus on confirmed amounts tied to
Chattanooga. Note that some funds are part of broader statewide allocations where Chattanooga’s specific share
is not always isolated, and some amounts reflect loans rather than outright grants. $186 million (EPA WIFIA
Loan, 2022) Water Infrastructure Finance and Innovation Act (WIFIA) loan for wastewater and stormwater
infrastructure upgrades, including the Moccasin Bend Wastewater Treatment Plant. $38.6 million (American
Rescue Plan Act, 2021) ARPA funds for the "One Chattanooga Relief and Recovery" plan, with $30 million
allocated to community-based initiatives and the remainder for housing and other projects. $3.5 million (EPA
Brownfields Revolving Loan Fund, Bipartisan Infrastructure Law, post-2020) Supplemental grant for
brownfield site cleanup, supporting projects like 2701 Chestnut St. and South Broad Street sites. $500,000
(EPA Brownfields Supplemental Funds, 2021) Additional funding for brownfield redevelopment, including the
Standard Coosa Thatcher Project and Old Trotter School Site cleanup. $19.5—$20 million (EPA Community
Change Grant, 2024) Grant to the City of Chattanooga and Trust for Public Land for the Alton Park Connector
project, including stormwater management solutions. $20 million (Tennessee Clean Water State Revolving
Fund Loan, 2023) Low-interest loan via EPA-supported CWSRF for sewer and stormwater storage projects,
part of a $48.47 million initiative. $50 million (HUD Choice Neighborhoods Implementation Grant, 2024)
Awarded to the Chattanooga Housing Authority for Westside neighborhood revitalization, including public
housing replacement. $4.6 million (Federal Highway Administration ATTIMD Grant, 2023) Advanced
Transportation Technologies and Innovative Mobility Deployment grant for 86 smart intersections and EV

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charging station planning. $4 million (USDOT Grants, 2024) Two grants from the U.S. Department of
Transportation: $2 million (Reconnecting Communities & Neighborhoods program) for Westside Evolves
planning and $2 million for pedestrian safety improvements. $2.2 million (HUD CDBG, Annual Average since
2020) Community Development Block Grant (CDBG) entitlement funding, approximately $2.2 million
annually, totaling roughly $11 million from 2020-2024 for housing and community development. $1.448
million (HUD CDBG-CV Round 3, 2023) CDBG Coronavirus Response funds to address COVID-19 impacts
on low- and moderate-income residents. $850,000 (HUD HOME Funds, Annual Average since 2020) HOME
Investment Partnerships Program funding, approximately $850,000 annually, totaling about $4.25 million from
2020-2024 for affordable housing. $860,000 (HUD HOME-ARP, post-2021) Portion of nearly $3 million in
American Rescue Plan HOME funds used for homelessness prevention, such as rent assistance. $32.3 million
(DOE Grid Resilience and Innovation Partnerships Grant, post-2020) Grant to EPB (Chattanooga’s municipal
utility) for power grid resilience, matched by local funds. $13.3 million (Federal Funding for Walnut Street
Bridge, 2023) Part of an $18 million renovation project, with federal sources unspecified but confirmed in the
city’s 2024 budget. Portion of $344 million (Federal COVID-19 Relief for Hamilton County, 2020-2024)
Chattanooga received a share of $344 million in federal relief funds for Hamilton County children and youth
programs, including ESSER funds for education; exact city-specific amount unspecified. Portion of $5.8 billion
(Federal-Aid Highway Programs, 2021) Tennessee allocation via the Bipartisan Infrastructure Law, with
Chattanooga competing for funds for road projects (specific amount to city not detailed). Portion of $302
million (Bridge Replacements & Repairs, 2021) Tennessee allocation via the Bipartisan Infrastructure Law,
with Chattanooga prioritizing bridges like Wilcox and Wilder Street (specific amount to city not detailed).
Notes: Total Estimate: Direct, confirmed federal funds to Chattanooga since 2020 exceed $367 million, with
additional unspecified portions from statewide allocations potentially increasing this figure. Sources: Include
EPA, HUD, DOT, DOE, and Treasury (ARPA) programs, corroborated by city announcements, federal press
releases, and local reporting.

-@PatriotsEngage

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 20 of 93

Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CF5CF-DBDFCC38-89]

Sent: 2/24/2025 11:56:59 PM

To: EPAExecSec [EPAExecSec@epa.gov]

cc: Jehling, Erica [Jehling.Erica@epa.gov]

Subject: X/DOGE_EPA: IRA grant funding being unfrozen

Cc Erica since this is DOGE relevant but not specific enough for the spreadsheet.

3s 2k Os ie 2

The Trump Administration should continue pausing disbursements of funding associated with Section 60114(a)
of the Inflation Reduction Act (IRA). These so-called climate change "planning grants" are funded through the
EPA’s Climate Pollution Reduction Grant (CPRG) Program. Continuing the pause would give Congress the
time needed to repeal this section of the IRA, which initially allocated $250 million to the program. The CPRG
planning grants are scheduled to continue through the end of 2027. The climate plans currently being developed
by states will ultimately serve no meaningful purpose for several reasons: Existing Federal Plans and Tools: The
EPA and other federal agencies have already developed hundreds of climate plans and tools using taxpayer
money. In addition, participating states have already developed a “Priority Climate Action Plan” using the
funding. State Capabilities: States that want to implement climate-related policies have already created their
own climate action plans without CPRG funding. The CPRG-funded plans are either redundant (for states like
Massachusetts or California) or unnecessary (for states like Oklahoma or Utah). Lack of Need: States less
inclined to implement climate-related policies have no use for a federally funded plan that will not be acted
upon. In addition, there is no purpose to the current “Comprehensive Climate Action Plans”. At least the initial
plans, the “Priority Climate Action Plans”, were a prerequisite for applying for CPRG Implementation Grant
funding. Spending millions of dollars on plans that will not be utilized is fiscally irresponsible. In my 20 years
of working in state government, I have never encountered a program as pointless and wasteful as this one. I
want to emphasize that my perspective is rooted in the belief that it is essential for federal and state
governments to take aggressive action to combat climate change. However, the CPRG planning grant program
is not an effective or efficient way to address climate change and should be ended immediately.

Feb 17, 2025, 7:12 AM

To clarify, I am recommending stopping payments of the appropriations for CPRG “planning grants” specified
under Section 60114(a)(1) of the IRA to quickly end the grants for climate planning described under Section
60114(b). I see value in continuing the “implementation grants” described under later sections of the IRA.

Feb 17, 2025, 7:16 AM

It should be noted that most states opted into the CPRG planning grants so that they would not miss the
opportunity to apply for additional CPRG implementation funding. However, now that the CPRG
implementation grants have been awarded based on the Priority Climate Action Plans, there is no purpose for
further climate planning funded with taxpayer dollars. The question to ask is about the purpose of keeping the
planning grants going. I doubt you’ll get a reasonable answer.

Feb 17, 2025, 7:31 AM

The longer state funding from EPA’s Climate Pollution Reduction Grant is paused for these useless climate
action plans, the more likely the state programs will end. For example, in my state, if funding is paused for 2-3
weeks, the state will need to stop spending money on the program and reassign staff to other positions. Under
the collective bargaining agreement between the state and employee union, the state will place affected staff in
open positions not funded by the grant. Then it will not be possible to restart the CPRG planning grant or
climate action plans in the state because those staff will be committed to other programs.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 21 of 93

Tue 7:13 AM
Ugh. CPRG funding for climate action plans is now unfrozen in my state. Just letting you know someone is
releasing the grant funding.

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Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CFSCF-DBDFCC38-89]
Sent: 3/24/2025 12:48:10 PM

To: Katrina Lloyd - QF2C [katrina.lloyd@gsa.gov]; Jehling, Erica Jlehling.Erica@epa.gov]

cc: Jon Dewolfe - QCCB [jonathan.dewolfe@gsa.gov]; Jennifer Rape - QCC [jennifer.rape@gsa.gov]; Josh Gruenbaum - Q
[josh.gruenbaum @gsa.gov]

Subject: RE: Contract Termination Shell

Sorry about that guys — | think Erica did the previous submission, and | didn’t see it in my email, so
that’s why | thought we were behind on submissions. But it sounds like we were not. And also that |
need to go through our internal contract list to get rid of duplicates!

Thanks,
Kathryn

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Sent: Monday, March 24, 2025 7:29 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>

Cc: Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>; Josh Gruenbaum -
Q <josh.gruenbaum @gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Good Morning,

In addition to Josh email, the EPA spreadsheet provided includes several contract # duplicates (|
counted 12) with different ceiling and savings values. We can't include duplicates in the GSA
termination log. Within your updated spreadsheet submission, please ensure there are no duplicate
entries.

Thank you!

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service

katrina. lloyd@gsa.gov
Phone 267-588-9975

On Sat, Mar 22, 2025 at 4:48 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:
Hey guys

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2:25-CVv-02152-RMG

Great!

Date Filed 04/21/25

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See below for what we have from you all already. Please re-submit just new entires that haven't
been logged yet so we can ensure no duplicates, and yes, send over whenever you get these real
time going fwd, please and thank you!

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68HERH24P0156

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89303024PC1000010

89303024PED000058

89303025PIG000148

89303024PE1000105

89303025FE1400159

68HERH23F0237

68HERC22F0141

68HERC20F0139

68HERC22F0142

68HERC22F0216

68HERH24F0409

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68HERC23F0173

68HERC23F0215

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FULBRIGHT US
LLP

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SLATE,
MEAGHER &
FLOM LLP

SKADDEN, ARPS,
SLATE,
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FLOM LLP

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ENDYNA, INC.

EASTERN
RESEARCH
GROUP INC

TETRA TECH,
INC.

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Climate &
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Environmental Non-Performing /
2242 2/20/2025 68HERH23P0123 Protection GARTNER, INC. —_Non-Essential
Agency Contracts
Environmental Non-Performing /
2243 2/4/2025  GS02F0128W Protection MANAGED CARE Non-Essential
ADVISORS, INC.
Agency Contracts
Environmental INSIDE
2244 2/14/2025 68HERC20C0061 Protection WASHINGTON Media
Agency PUBLISHERS LLC
Environmental Non-Performing /
2245 2/14/2025  68HERH24D0008 Protection | WIeCPENDYNA  Non-Essential
Agency Contracts
Environmental PEGASUS Non-Performing /
2246 2/14/2025 68HERC20D0029 Protection TECHNICAL Non-Essential
Agency SERVICES, INC Contracts
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Environmental MANAGEMENT Non-Performing /
2247 2/21/2025 GSO0F117CA Protection Non-Essential
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2248 2/13/2025 GS10F0065V Ieection STATE WETLAND Non essental
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2249 2/19/2025 68HERC25C0035 Protection CARPETING INC Non-Essential
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2250 2/11/2025 68HERH25P0029 Protection JUSTICE Non-Essential
Agency CONFERENCE Contracts
INC
Environmental CONFERENCE Non-Performing /
2251 2/10/2025 68HERC25P0001 Protection BOARD, INC., Non-Essential
Agency THE Contracts
Environmental
2660 140D0423F0629 Protection SC &AINC Consulting Services
140D0421A0004 Agency
Environmental
2661 140D0422F0180 Protection SC &AINC Consulting Services
140D0421A0004 Agency
Environmental
2766 2/28/2025 Protection Partnership for
68HEP24P0007 Agency Public Service Inc. Consulting Services
Environmental RESEARCH
5470 Protection TRIANGLE
3/3/2025 68HERH22F0012 68HERD20A0004 Agency INSTITUTE Consulting Services
Environmental
5706 Protection TTW SOLUTIONS,
3/4/2025 68HERC25F0003 68HERC24A0015 Agency INC. Consulting Services
ROSS &
ASSOCIATES
5707 Environmental ENVIRONMENTAL
Protection CONSULTING, Climate &
3/4/2025 68HERC24F0053 68HERC23A0005 Agency LTD. Sustainability

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ROSS &
ASSOCIATES
5708 Environmental ENVIRONMENTAL
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3/4/2025 68HERC23F0079 68HERC23A0005 Agency LTD. Consulting Services
Environmental
5709 Protection DELOITTE
3/4/2025 68HERH24F0289 FA701420D0007 Agency CONSULTING LLP Consulting Services
Environmental EASTERN
5710 Protection RESEARCH Climate &
3/4/2025 68HERH24F0103 68HERH22A0020 Agency GROUP, INC. Sustainability
Environmental EASTERN
5711 Protection RESEARCH
3/4/2025 68HERH24F0414 68HERC24D0006 Agency GROUP INC Consulting Services
Environmental EASTERN
5712 Protection RESEARCH
3/4/2025 68HERH24F0444 68HERC24D0006 Agency GROUP INC Consulting Services
Environmental EASTERN
5713 Protection RESEARCH
3/4/2025 68HERH24F0386 68HERC24D0006 Agency GROUP INC Consulting Services
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5715 Environmental ENERGY
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3/4/2025 68HERH24P0157 Agency ECONOMY Consulting Services
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3/4/2025 68HERH22P0204 Agency INCORPORATED — Consulting Services
AMERICAN
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5718 Environmental STANDARDS
Protection INSTITUTE
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Environmental
5719 Protection Climate &
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5720 Protection TRIANGLE Climate &
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5721 Protection Climate &
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3/4/2025 68HERH24F0447 68HERH24D0008 Agency LLC Consulting Services
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Entry Number 109

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6749 3/11/2025 68HERH24F0263
6819 3/7/2025 68HEOP24P0007
7113 3/19/2025 68HERC23F0350

DEIA Training
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TO PURCHASE A TWO YEAR
SUBSCRIPTION WITH GARTNER
HR LEADERS TO OBTAIN
RESEARCH AND ADVISORY
SERVICES COVERING
EMPLOYEE EXPERIENCE,
DIVERSITY, EQUITY, INCLUSION
AND ACCESSIBILITY, AND WORK
LIFE INTEGRATION.

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CONSULTING
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Partnership for
Public Service Inc.

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Consulting Services
Consulting Services

Non-Performing /
Non-Essential

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Terminated for
Convenience

Terminated for
Convenience

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states

$15,000,000.00
$15,000,000.00
$15,000,000.00

$180,000.00

$95,922.00

$545,710.00

$179,409.00

$399,091.23

$328,561.00

BOOZ ALLEN
HAMILTON INC.

$15,000,000.00
$15,000,000.00
$15,000,000.00

$0.00

$0.00

$0.00

$0.00

$399,091.23 $0.00

$328,561.00 $0.00

Consulting Services

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E&E News Subscription Services

This is a Firm Fixed Price Single
Source Acquisition to receive E&E
News publications.

Subscription to E&E News (Politico)
LLC for Energywire, Climatewire,
E&E Daily, Greenwire, and E&E
News PM for LPO's use program-
wide.

Politico Pro Plus One Year
Subscription for 25 users.

Award 30 user seat license contract
to Politico LLC dba E&E News for 12
mos digital subscriptions within the
Office of the Secretary in the amount
of $29,808.00 for the period
05/04/2022-05/03-2022.

8 licenses/subscriptions of E&E
NEWS for the Grid Deployment
Office.

To secure 70 users slots for E&E
News subscriptions (E&E Daily,
EnergyWire, ClimateWire,
GreenWire, and E&ENewsPM).

E&E News, purchase one-year
subscription for 45 Fossil Energy
(FE) HQ with access available to FE
HQ Staff. Period of Performance
06/28/2024-06/27/2025.

E&E News electronic subscription
renewal 3/11/24-3/10/25

Subscription for daily
comprehensive, timely, objective
journalistic analysis, news and
information on significant policy,
legislation, science, legal, regulatory
affairs, and industry developments
across the environment and energy
spectrum.

To procure a 1-year online
subscription to (E&E News) 15 seats

Date Filed 04/21/25

that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
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CASE NAM
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customer states
that contract
was terminated

CASE NAM
update:
customer states

$281,786.00

$184,915.00

$165,768.94

$115,180.00

$98,665.00

$59,475.00

$43,560.00

$40,499.98

$29,239.00

$29,040.00

$25,800.00

Entry Number 109

$49,000.00 $232,786.00

$129,305.00 $55,610.00

$129,303.75 $36,465.19

$115,180.00 $0.00

$98,665.00 $0.00

$18,320.00 $41,155.00

$43,560.00 $0.00

$40,499.98 $0.00

$29,239.00 $0.00

$29,040.00 $0.00

$25,800.00 $0.00

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The purpose of this requirement is to
procure an annual Politico Pro Plus
subscription for RTM and OA users.

The U.S. Energy Information

Administration (EIA), ORTM and OA
will enter into a firm-fixed price order
with Politico, LLC. to procure Politico
Pro Plus subscription for one year

for 3 users.

THIS CALL ORDER IS TO AWARD

A CONTRACT FOR

ENVIRONMENTAL JUSTICE AND

CIVIL RIGHTS PROGRAMMING
AND LEARNING.

WIFIA LEGAL ADVISORY
SUPPORT SERVICES

LEGAL ADVISORY SUPPORT
SERVICES FOR WIFIA
TRANSACTIONS: FY2019

SECOND LIEN SYSTEM CREDITS

MULTI-AWARD

WIFIA LEGAL ADVISORY
SUPPORT SERVICES

WIFIA LEGAL ADVISORY
SUPPORT SERVICES: FY22
EPCOR LAKE OSWEGO

CONTRACTOR SUPPORT FOR
OFFICE OF ENVIRONMENTAL
JUSTICE AND EXTERNAL CIVIL
RIGHTS, OFFICE OF POLICY,

PARTNERSHIPS AND PROGRAM
DEVELOPMENT, PARTNERSHIPS
AND COLLABORATION DIVISION.

BPAS 68HERH22A0018 THROUGH
68HERH22A0029. THIS IS A NEW
COMPETITIVE EARTH T&M/FFP

HYBRID CALL ORDER FOR

OEJECR ENTITLED, "TECHNICAL

ASSISTANCE FOR GRANT
APPLICANTS/RECIPIENTS AND

ADMINISTRATIVE SUPPORT TO
EPA UNDER THE CLEAN AIR ACT

SECTION

SUPPORT FOR CONSTRUCTION

AND GRANT MANAGEMENT
(SAAP)

THIS TASK ORDER SUPPORTS
EPA ORD RESEARCH AND
ASSESSMENT ACTIVITIES BY

ADDRESSING CLIMATE CHANGE
AND LAND USE CHANGE RISK TO CLOSE OUT

ALPINE LAKES. TWO REVIEWS
OF THE LITERATURE WILL BE
DONE TO ASSESS (1) ALPINE
AND MONTANE LAKE

Date Filed 04/21/25

that contract
was terminated

CASE NAM

update:

customer states $13,575.00
that contract

was terminated

CASE NAM

update:

customer states $12,300.00
that contract

was terminated

TERMINATE

FOR

CONVENIENCE $6,895,921.10
(COMPLETE

OR PARTIAL)

CLOSE OUT $1 382,235.00

CLOSE OUT $1,040,200.00

CLOSE OUT $885,900.00

CLOSE OUT $578,160.00

TERMINATE

FOR

CONVENIENCE $257,672.10
(COMPLETE

OR PARTIAL)

TERMINATE
FOR

Entry Number 109

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$13,575.00 $0.00

$12,300.00 $0.00

$6,895,921.10 $6,145,921.10

$1 382,235.00 $1,027,101.50

$1,040,200.00 $601,300.00

$885,900.00 $680,904.74

$578,160.00 $243,363.92

$257,672.10 $0.00

CONVENIENCE $134,022,674.73 $64,668,605.16 $69,354,069.57

(COMPLETE
OR PARTIAL)

Terminated for

Convenience $147,941.00

$122,492.90

$72,438.00 $75,503.00

$122,492.90 $0.00

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STRESSORS AND (2) THE

Date Filed 04/21/25

Entry Number 109

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UPLAND M
THE CONTRACTOR WILL oR NATE
SMO PR AWARD CONVENIENCE $75,021.00 $75,021.00 $0.00
(COMPLETE
ACTIVITIES FOR EJ GRANTS. OR PARTIAL)
Gartner under FedLink Contract oR NATE
for three years -to obtain the Seat. CONVENIENCE $1,993,036.00 $319,391.00
licenses (COMPLETE
OR PARTIAL)
TERMINATE
FOR
Workers Compensation Program CONVENIENCE $1,423,855.00 $638,687.00
(COMPLETE
OR PARTIAL)
TERMINATE
U.S. EPA access to Inside FOR
Washington Publishers' CONVENIENCE $1,107,500.00 $0.00
InsideEPA.com (COMPLETE
OR PARTIAL)
Support for the U.S. EPA Science oR NATE
Advisory Board Staff Office and CONVENIENCE $257,672.00 $0.00
other Agency Federal Advisory (COMPLETE
Committees Staff Offices OR PARTIAL)
Office of Research and Development OR NATE
Pxposure Research Support CONVENIENCE $248,464.00 $138,936.00
(COMPLETE
Services II (RMEERS II) IDIQ OR PARTIAL)
TERMINATE
FOR
Support to EJ Grants Management CONVENIENCE $75,021.00 $0.00
(COMPLETE
OR PARTIAL)
Sediment Workshop 2025 - Engage TERMINATE
and commit key stakeholders around FOR
the beneficial reuse of sediment and CONVENIENCE $64,153.00 $0.00
sand in California through the (COMPLETE
context of coastal and shoreline OR PARTIAL)
climate resiliency.
Removal and Installation of TERMINATE
Carpeting for OAP/PMD offices at FOR
William Jefferson Clinton Federal CONVENIENCE $37,463.00 $37,463.00
South building in accordance with (COMPLETE
the Statement of Work OR PARTIAL)
TERMINATE
._ FOR
228 Nationa! Ervronmenal SUsIC® CONVENIENCE. $20,000.00 $0.00
(COMPLETE
OR PARTIAL)
Talent Management Executive oR NATE
Council 12-month Membership CONVENIENCE $18,500.00 $0.00
(Period of Performance February 1, (COMPLETE
2025 - January 31, 2026).
OR PARTIAL)

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SUPPORT UNDER THIS BPA
ORDER #10 IS FOR THE U.S.
ENVIRONMENTAL PROTECTION
AGENCY (EPA), OFFICE OF
ATMOSPHERIC PROTECTION

Date Filed 04/21/25

Full Stop Work
Issued -

Entry Number 109

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(OAP), STRATOSPHERIC Foe tions in 8383:282.58 $191,331.82 $191,950.76

PROTECTION DIVISION. THE EPA nine

REQUIRES A CONTRACTOR TO

SUPPORT THE NEED FOR

RETREAT FACILITATION AND

STRATEGI

BPA ORDER #8 - SUPPORT FOR

THE CLEAN AIR ACT ADVISORY Full Stop Work

COMMITTEE (CAAAC) AND Issued -

ANNUAL CLEAN AIR Terminations in |®112:970.96 $112,970.96 $0.00

EXCELLENCE AWARDS (CAEA) __ Progress

PROGRAMS
Terminate
Contract $16,500.00 $16,500.09 44 go

THIS IS A FOLLOW ON TO

68HERD20A0004/68HERH20F 0355:

THIS CALL ORDER WILL

SUPPORT IMPACTS OF

MATERIALS MANAGEMENT

APPLICATIONS II. CLOSE OUT $1,391,044.20  $1,391,044.20 $0.00
TERMINATE

FFP CALL ORDER ACQUISITION FOR

PROGRAM MANAGEMENT CONVENIENCE

SUPPORT UNDER BPA: (COMPLETE

68HERC24A0015 OR PARTIAL) $997,692.40 $100,000.00 $897,692.40
TERMINATE
FOR
CONVENIENCE

SUPPORT FOR SUSTAINABLE (COMPLETE

WATER SECTOR UTILITIES OR PARTIAL) $85,551.14 $85,551.14 $0.00
TERMINATE

EFFECTIVE AND SUSTAINABLE FOR

UTILITY MANAGEMENT CONVENIENCE

PLANNING AND DEVELOPMENT (COMPLETE

IN ACCORDANCE WITH THE PWS. OR PARTIAL) $222,230.48 $177,235.28 $44,995.20
TERMINATE

OEJECR STRATEGIC FOR

ORGANIZATIONAL CONVENIENCE

TRANSFORMATION MISSION (COMPLETE

SUPPORT (SOTMS). ORPARTIAL)  $10,485,552.60 $6,524,618.40 $3,960,934.20

BPAS 68HERH22A0018 THROUGH

68HERH22A0029. TO PROCESS A TERMINATE

NEW COMPETITIVE EARTH FFP, FOR

CALL ORDER FOR OAR/REGION 8 CONVENIENCE

ENTITLED "R8 AIR PERMITTING (COMPLETE

SUPPORT." OR PARTIAL) $657,839.20 $181,000.00 $476,839.20

NEW TASK ORDER ON TERMINATE

CONTRACT 68HERC24D0006, «FOR

ENTITLED OEJECR EJ CONVENIENCE

COMMUNITY ENGAGEMENT (COMPLETE

GENERAL SUPPORT. ORPARTIAL)  $6,158,591.00 $1,175,000.00 $4,983,591.00
TERMINATE

COLLABORATIVE PROCESS FOR

FACILITATION FOR THE

CONVENIENCE

$227,792.00

$20,000.00

$207,792.00

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Date Filed 04/21/25

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INFORMATION DISCOVERY (COMPLETE

DIVISION (IDD). OR PARTIAL)

FACILITATION AND ADR TERMINATE

SUPPORT SERVICES FORTHE FOR

OFFICE OF WATER JUST-IN-TIME CONVENIENCE

SERVICES. NEW TASK ORDER — (COMPLETE

ON CONTRACT 68HERC24D0006. ORPARTIAL) —— $2,113,965.00 $143,500.00 $1,970,465.00

NEW TASK ORDER ON

CONTRACT 68HERC24D0006,

ENTITLED SUPPORT SERVICES TERMINATE

TO IMPLEMENT COMMUNITY- — FOR

BASED ENVIRONMENTAL CONVENIENCE

JUSTICE TRAINING AND (COMPLETE

OUTREACH. OR PARTIAL) $474,695.00 $12,500.00 $462,195.00

GOLD-LEVEL SERVICES FOR THE

ACEEE 2024 ENERGY

EFFICIENCY POLICY TERMINATE

FORUMBASE: JULY 17 2024 - FOR

JULY 16 20250PTION PERIOD 1: CONVENIENCE

JULY 17 2025-NOVEMBER 16 — (COMPLETE

2026 OR PARTIAL) $24,000.00 $12,000.00 ~— $12,000.00
TERMINATE

GOLD-LEVEL SERVICES FOR THE FOR

ACEEE 2024 SUMMER STUDY ON CONVENIENCE

ENERGY EFFICIENCY IN (COMPLETE

BUILDINGS. OR PARTIAL) $24,000.00 $12,000.00 — $12,000.00

THIS IS FOR A NEW FIVE-YEAR

(BASE YEAR + 4 OPTION YEARS)

ORDER SUPPORTING

DEVELOPMENT OF HOUSEHOLD

ENERGY STANDARDS FOR

COOKING AND HEATING

TECHNOLOGIES AND FUELS. TERMINATE

ANSI WILL ALSO PROVIDE FOR

ADMINISTRATIVE SUPPORT AND CONVENIENCE

STRATEGIC GUIDANCE FOR THE (COMPLETE

US HOUSEH OR PARTIAL) $100,000.00 $20,000.00 ~—- $80,000.00

THIS PURCHASE ORDER IS FOR

A NEW FIVE-YEAR (BASE YEAR +

4 OPTION YEARS)

ORDERSUPPORTING

DEVELOPMENT OF HOUSEHOLD TERMINATE

ENERGY STANDARDS FOR FOR

COOKING AND CONVENIENCE

HEATINGTECHNOLOGIES AND = (COMPLETE

FUELS. OR PARTIAL) $100,000.00 $30,000.00 —- $70,000.00

EARTH FFP CALL ORDER FOR

OAR/ORIA, "ADVISORY TEAM

KNOWLEDGE CAPTURE

SUPPORT" TOCOR: GARY

CHENALT TOCOR: DANIELLE

MONTECALVOCLCOR: ELEANOR TERMINATE

MARUSIAKALT. CLCOR: LAURA FOR

ZOELLNERCALL ORDER CONVENIENCE

DESCRIPTION: EPA OAR-ORIA (COMPLETE

CHAIRS AN INTER-A OR PARTIAL) $127,316.00 $33,486.00 — $93,830.00

NEW COMPETITIVE EARTH

T&M/FFP HYBRID CALLORDER = TERMINATE

FOR REGION 3, MISSION FOR

SUPPORT DIVISION,

CONVENIENCE

$3,309,925.00

$1,128,885.00

$2,181,040.00

EPA_00037052
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ACQUISITION AND ASSISTANCE (COMPLETE
BRANCH, ENTITLED "REGIONAL OR PARTIAL)
ADMINISTRATIVE GRANTS

MANAGEMENT

SUPPORT"TOCOR: ERIN

WORKMANALT TOCOR: ALICIA

MARTINEZ
TERMINATE
FOR
CONVENIENCE
CLIMATE CHANGE CASE (COMPLETE
STUDIES FOR NEPA REVIEWERS OR PARTIAL) $194,531.00 $97,476.00 $97,055.00
SUPPORT OF THE HISTORICALLY
BLACK COLLEGES AND TERMINATE
UNIVERSITIES - MINORITY FOR
SERVING INSTITUTIONS CONVENIENCE
FEDERAL ADVISORY COUNCIL (COMPLETE
(HBCU-MSI FAC) MEETINGS. OR PARTIAL) $97,216.96 $97,216.96 $0.00
TERMINATE
FOR

CONFLICT PREVENTION AND CONVENIENCE
RESOLUTION CENTER TRAINING (COMPLETE

JUST-IN-TIME SERVICES OR PARTIAL) $1,256,075.00 $140,000.00 $1,116,075.00
TERMINATE
ECCRS CONTRACT FOR

MANAGEMENT & SUPPORT JUST- CONVENIENCE
IN-TIME SERVICES TASK ORDER (COMPLETE

01 OR PARTIAL) $419,262.60 $85,515.22 $333,747.38
TECHNOLOGY TRANSFER,
MEETING SUPPORT: FOR
TECHNOLOGY TRANSFER
SUPPORT, WRITING, EDITING, OR NATE
AND GRAPHIC DESIGN SUPPORT
FOR THE FEDERAL ADVISORY (COMPLETE $44 600.00 $44 600.00 $0.00
COMMITTEE MANAGEMENT AND OR PARTIAL)
OVERSIGHT DIVISION CONTRACT
# 6BBHERC20D0017 TASK ORDER
# 0036.
Fee for membership for Public .
. . Terminate
Service (Emerging HR Leaders C $16,500.00 $16,500.00 $0.00
ontract
Program)
TERMINATE
RTP ONSITE ENGINEERING FOR
SUPPORT CONVENIENCE $1,122,631.62 $529 982.45 $592 649.00
(COMPLETE
OR PARTIAL)

On Sat, Mar 22, 2025 at 4:21 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:
Hi Josh,

| realized | was behind on reporting contract terminations for EPA — here is the latest. The new rows
all have 3/22 as the reporting date in column K “update date”.

If these have a theme I'd say it’s “administrative support” contracts.

EPA_00037053
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 35 of 93

Kathryn

From: Loving, Kathryn

Sent: Monday, March 10, 2025 6:29 PM

To: Jehling, Erica <Jehling.Erica@epa.gov>; Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>
Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Subject: RE: Contract Termination Shell

Hi Josh,

Here is the grant termination log info, for 1 grant that the team is working on cancelling tonight — |
will ping you when it’s actually done.

Proposed tweet: Nice job EPA, saving taxpayer dollars that would have gone to “Advancing tree
equity” and other environmental justice causes!
(Feel free to wordsmith.)

As Lee mentioned on X, there are hundreds of these (most of the titles are not this funny). I'll send
you another report tomorrow.

Kathryn

From: Jehling, Erica <Jehling.Erica@epa.gov>

Sent: Tuesday, March 4, 2025 12:30 PM

To: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>
Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Subject: RE: Contract Termination Shell

Good morning,

We received approval to cancel $116M in pending grant awards today. Attached is the updated
spreadsheet.

Please wait to post on X as the EPA is working on a press release they would like to post first. Below is what
our X post can be once they release:

“EPA cancels 21 pending grants totaling $116M for reducing GHG emissions for construction
materials that do not align with the EPA’s priorities.”

Thanks,
Erica

EPA_00037054
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 36 of 93

From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Sent: Monday, February 24, 2025 10:38 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>
Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Great stuff here!

Katrina, will intake to ensure we have all of these for contracts and no double counting.

Katrina, pls confirm.

Kathryn, | will get with you on your grant query

On Mon, Feb 24, 2025 at 10:28 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:
Hi Josh,

Here is a belated update on new contract cancellations from last week.

Please hold off posting on X, because Lee’s PR team had asked that we let them do it first. I'll ping
you when it’s ok to post. The post | suggested is “EPA has terminated 24 more contracts, helping
the American taxpayer avoid another $77M in costs”.

Also — let me know what you think about including the $50M row in this report, that | colored red?
Canceling grants before they are awarded is easier, and more impactful in terms of $savings, so
we are planning to do several more this week that are pre-award. However, they will not show up
in FPDS — the “receipts” are only in the internal EPA grants database...

Kathryn

From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>
Sent: Wednesday, February 12, 2025 6:59 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>
Subject: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

EPA_00037055
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 37 of 93

See attached

Savings = Ceiling less Obligation

Thanks again!

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh. gruenbaum @qgsa.gov

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh. gruenbaum @gsa.gov

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh. gruenbaum @gsa.gov

EPA_00037056
2:25-CVv-02152-RMG Date Filed 04/21/25 Entry Number 109

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Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CF5CF-DBDFCC38-89]

Sent: 3/25/2025 5:33:53 PM

To: Dolan, Sheila [dolan.sheila@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Sanders, Amy [Sanders.Amy@epa.gov]

Subject: RE: DOGE Review - Region 5 — March 24th

Attachments: 07E00752-0 -KL.pdf

Hi Sheila,
See attached.
-Kathryn

From: Dolan, Sheila <dolan.sheila@epa.gov>

Sent: Monday, March 24, 2025 6:10 PM

To: Jehling, Erica <Jehling.Erica@ epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>
Cc: Coogan, Daniel <Coogan.Daniel@epa.gov>; Sanders, Amy <Sanders.Amy@epa.gov>
Subject: DOGE Review - Region 5 — March 24th

Good afternoon,
Please see the attached RS compliance form for 3/24. Let me know if you have any questions.
Thanks!

Best Regards,

Sheila Dolow

Branch Manager

R5 Acquisition & Assistance
Office: 312-886-6675

Cell: 202-845-5981

EPA_00037057
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 39 of 93

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #:|O7EQ00752-0

Recipient/ Vendor name:|Forest County Potowatomi Community

Funding amount S: 502,500

Work Description:

Forest County Potowatomi Community will use these funds to (1) protect the quality of the
Tribe's water, land, and air resources by building and enhancing the basic infrastructure of
an environmental program, (2) ensure healthy ambient air quality for the Reservation and
surrounding air-shed, and (3) maintain adequate measures for the prevention and control
of surface and groundwater pollution from both point and non-point sources.

Government-wide Acquisition (if yes, check box):

EPA_00037058
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 40 of 93

. Digitally signed by Tyler,
Tyler, Jennifer Jennifer (Blonn}

Date: 2025.03.24
(Blonn) 11:11:25 -05'00"

Program Office Director (or designee)/ Regional Division Director (or designee)

Digitally signed by
KATH RYN KATHRYN LOVING

Date: 2025.03.25
LOVING 13:32:54 -04°00"
DOGE Team

EPA_00037059
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 41 of 93

This document is produced in native format.

Original file name:

2025-2026 FCPC_PPG_Work Plan - Final.xisx

EPA_00037060 - EPA_00037106
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 42 of 93

Message

From: Loving, Kathryn [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=700D20D45E284246BB2737BA4B9CF5CF-DBDFCC38-89]

Sent: 3/24/2025 5:07:53 PM

To: Flynn, Rhonda [flynn.rhonda@epa.gov]; Jehling, Erica JJehling.Erica@epa.gov]

cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Sanders, Amy [Sanders.Amy@epa.gov]; Dolan, Sheila
[dolan.sheila@epa.gov]

Subject: RE: DOGE Review - Region 5 — March 21st

Attachments: 01£03910-0 -KL.pdf; 05E01503 -KL.pdf; 68HE0422D0004-TBD -KL.pdf; 68HE0422D0005-TBD -KL.pdf;
68HERC21D0024 -KL. pdf; 68HERD23D0003_68HE0523F0025 -KL.pdf; 98502324 -KL.pdf; BG17E01028 -KL. pdf;
BG96585515 -KL.pdf; PM 98577411 -KL.pdf; PM96579609 -KL.pdf; PM98577211 -KL.pdf; PM98577312 -KL.pdf;
PM98577511 -KL.pdf; PM98577611 -KL.pdf; PM98577811 -KL.pdf; PM98581111 -KL.pdf; PM99581211 -KL. pdf; TX-
00E86708 -KL.pdf; TXOOE98407 -KL.pdf; TX-00E98708 -KL.pdf; TXO1E03349 -KL.pdf

Sorry about that Rhonda!

See attached.

For LADCO -— I didn’t sign because that one appears to be administrative work to facilitate information

exchange — could you please ask if we can in-source this work.

Can you tell me who from HQ you mean? I want to make sure I didn’t mess up their submissions completely.

Thanks,
Kathryn

From: Flynn, Rhonda <flynn.rhonda@epa.gov>

Sent: Monday, March 24, 2025 11:42 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>

Cc: Coogan, Daniel <Coogan.Daniel@epa.gov>; Sanders, Amy <Sanders.Amy@epa.gov>; Dolan, Sheila
<dolan.sheila@epa.gov>

Subject: RE: DOGE Review - Region 5 — March 21st

Good Morning Kathryn,

Can you confirm if there were any March 20" & March 21* approvals for Region 5?

I ask because the forms provided on Friday were for HQ. I passed them along to the HQ personnel.
Rhonda Flynn

Supervisor, Acquisition Section 2

U.S. EPA Region 5

77 W. Jackson Blvd, Chicago, IL 60604
312-353-3187 | flynn.rhonda@epa.gov

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Friday, March 21, 2025 3:39 PM

To: Flynn, Rhonda <flynn.rhonda@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>

Cc: Coogan, Daniel <Coogan.Daniel@epa.gov>; Sanders, Amy <Sanders.Amy@epa.gov>; Dolan, Sheila
<dolan.sheila@epa.gov>

Subject: RE: DOGE Review - Region 5 — March 21st

EPA_00037107
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 43 of 93

Hi Rhonda,
See attached.

On 0241 1-068-069-042016.1, I need more details, as it looks like $230K to maintain a database (too much).
But I can’t find this contract number in EAS.

Could you tell me more about the various boats owned by EPA?

I know they are used for water sampling, but:

Is there 1 boat per Great Lake?

Are there other boats outside the Great Lakes region?

This Lake Guardian boat (or, I would love to know for all the boats if you know for all the boats):
- how many samples per week do they take? What is the volume of those samples?

- how many hours are they on the water?

- what is the annual cost of ownership for each boat (including maintenance, slip fees, etc)

(And where I’m going with all this is to wonder: could we do the same sampling but using occasional rented
trips on boats that EPA does not own.)

Thanks,
Kathryn

From: Flynn, Rhonda <flynn.rhonda@epa.gov>

Sent: Friday, March 21, 2025 2:08 PM

To: Jehling, Erica <Jehling.Erica@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>

Cc: Coogan, Daniel <Coogan.Daniel@epa.gov>; Sanders, Amy <Sanders.Amy@epa.gov>; Dolan, Sheila
<dolan.sheila@epa.gov>

Subject: DOGE Review - Region 5 — March 21st

Good Afternoon Erica and Kathryn,

Please see the attached RS Compliance Forms for 3/21.

Rhonda Flynn

Supervisor, Acquisition Section 2

U.S. EPA Region 5

77 W. Jackson Blvd, Chicago, IL 60604
312-353-3187 | flynn.rhonda@epa.gov

EPA_00037108
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 44 of 93

A. Cover Page

Entity Name: Little Traverse Bay Bands of Odawa Indians (LTBB)

Project Title: LTBB Air Quality Project

Document Date: January 31, 2025

Project Manager: Caroline Moellering, LTBB Environmental Services Manager, 7500 Odawa Circle,
Harbor Springs, MI 49740-9692; (231) 242-1570;
cmoellering@ltbbodawa-nsn.gov

Total Project Cost: $137,000

Project Period: May 1, 2025 - March 31, 2027

EPA_00037109
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 45 of 93

B. Narrative Work Plan

The Little Traverse Bay Bands of Odawa Indians (LTBB), a federally recognized Tribe, has 4,575 Tribal
Citizens (as of February 15, 2024). The Tribe is based in its historic homeland in Northwestern Lower
Michigan, encompassing approximately 337 square miles primarily in what are now Emmet and
Charlevoix counties. Almost 38% of all Tribal Citizens living in MI (n=1231) reside within the homeland
and surrounding 25-mile airshed (Attachment 1). This ‘LTBB Airshed’ serves as the project location,
within an emphasis on LTBB Trust lands.

Project Description

LTBB seeks to protect air quality and increase Tribal air knowledge through enhanced regulatory
capacity on air quality issues, as well as through research and development of strategies for changing
environmental trends in relation to air quality on tribal lands for LTBB government operations. LTBB
aims to provide indoor air quality improvement information to Tribal Citizens and raise community
awareness of air quality issues, and the awareness of air quality on tribal lands.

This project is consistent with Section 103 of the Clean Air Act (CAA) and aligns with Goal 4 of the 2022-
2026 US EPA Strategic Plan: Ensure Clean and Healthy Air for All Communities. LTBB has a significant
stake and interest in researching and developing strategies to increase air quality regulatory capacities,
determining necessary reductions in pollution through promoting community education and outreach to
reduce the negative effects of air pollution on human health. This project fits with objective 4.1 of the
2022-2026 EPA Strategic Plan: Improve Air Quality and Reduced Localized Pollution and Health Impacts

1. Problem Statement

The protection of air quality is cited as a priority in LTBB’s 2019-2022 EPA Tribal Environmental Plan
(ETEP). LTBB continues to be concerned with the overall respiratory health of the community and the
accumulation of pollutants in subsistence foods such as fish, wildlife and plants. Pollutant emissions
within the community were compiled and reviewed in the LTBB Emissions Inventory (El). The El includes
several sources of emissions within the community airshed that can affect air quality including industry,
automobiles, snowmobiles, boats, gas stations and commercial freight ships. Although LTBB now has
better data and understanding of the pollutant emission sources impacting the LTBB Community, the
lack of regulatory capacity currently lessens the ability of the Tribe to influence regulatory decisions. The
LTBB Air Quality Program is prepared to move forward with Treatment-as-a-State (TAS) and the
workplan may need to adjust to accommodate TAS related tasks. TAS application related work has
started, and will continue during this grant cycle.

Ambient and indoor air quality is critical to the health and well-being of Tribal Citizens. According to
recent studies by the Asthma and Allergy Foundation of America, approximately 10% of American Indian
and Alaskan Natives in the U.S. are diagnosed with asthma, compared to 8% of Caucasian individuals.
This disparity is even greater between children of these demographic groups. According to recent data
from the LTBB Health Department, approximately 20% of patients under their care have been diagnosed
with asthma. An extended cold weather season on the LTBB homeland area leads to homes being tightly
sealed for months, which leads to decreased indoor air quality. Highly humid summers combined with
the area’s cool Spring and Fall seasons can enable mold growth. Mold related questions are commonly
received and answered by the LTBB Air Quality Program. The U.S. EPA has recognized the detrimental
impacts and risks of air pollution on sensitive populations such as asthmatics, elders and children.

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EPA_00037110
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 46 of 93

It is important for LTBB to continue to identify the sources of ambient and indoor air pollution. We must
determine the impact on air quality and human health and provide strategies that reduce potential
negative impacts on the LTBB community. Properly trained staff are required to respond to air quality
concerns. Additionally, it is essential for staff to educate and provide information to the LTBB
community regarding indoor and outdoor air quality issues.

2. Objectives

e Objective 1: Increase regulatory capacity on air quality issues to benefit the LTBB
Community.

e Objective 2: Research and develop air quality monitoring, and improvement strategies to
benefit LTBB government operations.

e Objective 3: Participate in workgroups, trainings, conferences and meetings pertaining to air
quality to collaborate on, and to increase knowledge and abilities relating to air quality
related topics such as but not limited to monitoring, best practices, etc.

e Objective 4: Increase awareness of air quality issues within the LTBB Tribal Community, and
the public.

e Objective 5: Provide technical assistance on air quality issues within the LTBB Tribal
Community.

e Objective 6: Continue leaf litterfall mercury monitoring with the NADP to increase data and
knowledge regarding mercury bioaccumulation.

e Objective 7: Maintain and improve the LTBB Air Quality Program to continue and sustain
progress made to date.

3. Project Methods

e Objective 1: Coordinate with the EPA and provide outreach assistance for changes to
existing or potential air pollutant sources to meet federal air permitting regulations;
Review/submit comments on air quality policies, permits and other issues proposed by the
U.S. EPA, Michigan Department of Environment, Great Lakes, EGLE and private/local
organizations to increase LTBB involvement in these processes; Participate in meetings to
develop well informed recommendations on air quality issues; Meet with Tribes,
governments and academic institutions on partnerships to improve air quality monitoring
on/near reservations

e Objective 2: Update LTBB Emissions Inventory as needed; Monitor LTBB governmental
energy usage to inform and implement cost savings recommendations and activities;
research and development regarding air quality issues

e Objective 3: Attend trainings, conferences and webinars on air quality issues to increase
knowledge of and improve air quality related environmental challenges; Host and/or
participate in meetings and workgroups that address air quality such as but not limited to
MTEG, TEPM, EPA Region 5 air calls, NTAA, LTBB Natural Resource Commission meetings,
etc.

e Objective 4: Develop air quality and environmental educational tools and outreach
materials such as website improvements, posters, brochures, newsletter articles and
presentations on the subjects of air quality, air quality related cost reductions; Plan and
facilitate outreach and education opportunities for the LTBB community

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e Objective 5: Provide technical assistance for the LTBB Community on air quality issues such
as mold, woodstove use, carbon monoxide, particulate matter, ozone, sulfur dioxide, lead,
nitrogen dioxide, carbon, etc.; Continue offering and promoting indoor air quality
assessments in LTBB buildings and homes; Indoor air quality work will be reported quarterly
using the EPA Report Template with [AQ impact options

e Objective 6: Use NADP methods to collect and analyze leaf litterfall for mercury content

e Objective 7: Evaluate the air quality program and projects and summarize findings,
providing updates/revisions when needed; Assist in the research and evaluation of
information for the TAS process in coordination with the LTBB Legal Department; Update
QAPPS as needed

4. Specific Environmental Outputs
e Objective 1: Updated LTBB Airshed map, comments letters, meeting minutes, reviewed,
and/or updated LTBB air quality related resolutions, policies, etc.

e Objective 2: Energy data reports, updated emissions inventory

e Objective 3: Meeting agendas, Training certificates, Relevant inter-agency communication,
Reports, Meeting minutes and materials

e Objective 4: Newsletter articles, brochures, emails, educational outreach materials,
Updated LTBB air quality program webpages, attending minimum of 2 LTBB hosted outreach
and education events with air quality program tables, Increased online presence of air
quality issues

e Objective 5: Technical assistance documentation, Newsletter articles, Brochures, Emails,
IAQ assessment reports, IAQ mitigation recommendations

e Objective 6: Data on local mercury concentrations that can be compared to other sites in
the NADP

e Objective 7: TAS application and supporting information, Staff meeting reports, Program
meeting reports, Tribal reports, Grant reports, updated QAPPs

5. Desired Environmental Outcomes

e Objective 1: LTBB’s continued participation in air quality issues, permitting decisions, etc.;
Increased Tribal capacity to influence potential air quality polluters to consider air quality
concerns in their daily operations; Increased capacity and partnerships for air quality
research and monitoring

e Objective 2: Improved understanding of pollution reduction strategies; Documented energy
use/production for LTBB Government facilities and recommendations for cost savings;
Increased capacity of LTBB government to understand pollution impacts on tribal lands.

e Objective 3: Informed, productive/effective staff to represent LTBB on air quality issues,
Information sharing with other organizations regarding the organization’s strategies towards
air quality improvement

e Objective 4: Increased awareness in Tribal Citizens, community members and the public
regarding air quality issues.

e Objective 5: Improved air quality within the LTBB community and/or reduced impact,
energy cost savings

e Objective 6: LTBB Natural Resources staff will be more informed on fluctuations in the
potential for mercury bioaccumulation

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e Objective 7: Successful planning, evaluation, and completion of air quality projects;
Continued air quality presence by LTBB; Completed TAS application

6. Target Dates and Milestones
e Objective 1: Weekly, Monthly and Quarterly throughout the project period
e Objective 2: Quarterly throughout the project period
e Objective 3: Monthly and Quarterly throughout the project period
e Objective 4: Monthly throughout the project period
e Objective 5: Quarterly throughout the project period
e Objective 6: Annually during the Fall season
e Objective 7: Weekly, Quarterly throughout the project period, Annual evaluations

7. Performance Measures

For each reporting period, staff will conduct a self-assessment using activity documentation
compared to each objective, accomplishments measured by work plan commitments, effectiveness
of work performed, existing and potential problem areas, suggestions for improvement and, where
feasible, schedules for improvements.

e Objective 1: Number of comment letters or documentation on air quality issues and permit
applications; registration of and/or permits for LTBB facilities; completion of policy briefs/issue
primers (when applicable); discussions with Tribal staff and MDEQ air quality staff.

e Objective 2: Monitoring, analysis and reports on energy usage on an annual basis emissions
inventory

e Objective 3: Participation in meetings, trainings, and conference calls including Region 5 Tribal
Air conference calls; application of new information/training into comments and outreach
efforts.

e Objective 4: Number of outreach events attended or coordinated; number of outreach
materials updated and/or distributed Published articles; number of participants at meetings,
events, or programs; presentation materials; presence of current information on website.

e Objective 5: Number of Tribal citizens assisted by the program; number of [AQ assessments
completed.

e Objective 6: Updated data on local mercury concentrations.

e Objective 7: Number of reports provided; TAS application; updated QAPP

8. Program Manager/Contacts

The LTBB Environmental Services Manager, Caroline Moellering will serve as the Program Manger
and oversee all project objectives and methods. The LTBB Environmental Specialist, Kira Dowell will
have the primary daily responsibility of carrying out methods to successfully meet the objectives of
this project.

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EPA_00037113
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 49 of 93

Quality Assurance

The existing Indoor Air Quality QAPP, which was approved November 2023, will be used in accordance
with the workplan. As the program evolves, additional QAPPs may be submitted for future data
gathering projects. The existing QAPPs will be annually reviewed and updated to reflect the activities in
the workplan. The signed QAPP will be attached with the application submission. (Attachment 2)

Performance Reporting Requirements

LTBB is committed to submitting semi-annual narrative reports and a final report to the U.S. EPA as
required by the U.S. EPA and the grant award agreement. Additional reports will also be provided upon
request. All data generated, collected or compiled will be shared with the U.S. EPA for assessment.

1) Semi-Annual Reports: After the completion of each reporting period, LTBB will complete
technical performance reports using work plan objective measures including: accomplishments
measured by work plan commitments, effectiveness of the work performed, existing and
potential problem areas and suggestions for improvement, including schedules for making
improvements and any other relevant information.

LTBB agrees to inform the U.S. EPA as soon as any problems or delays occur.

2) Final Reports: The final report will include a project summary, accomplishments measured by
objectives and desired environmental outcomes, project deliverables
and costs of the project. The final report will also include a discussion of problems
and successes of the project including knowledge and research gained.

C. Work Plan Supplements

Programmatic Capability
The following are some of the federally funded assistance agreements received by LTBB from EPA and
performed within the last three years:

EPA Section 103 Clean Air: Grant #TX-O0E98406

PPG FY 2023 — FY 2024: Grant # BG96552411

BIA GLRI Manoomin Restoration Project: Grant #A21AV00757
BIA GLRI Tribal Capacity Program: Grant #A23AV00580

(i) LTBB Grants Management
LTBB has developed a grant monitoring system that includes the Tribe’s Grants Compliance Officer,
Grant Facilitators, Executive Directors, LTBB Chief Financial Officer and any other relevant Tribal
government Department Directors and staff. For U.S. EPA funded projects, the Natural Resource
Department Director has primary responsibility for accomplishing project activities and submits all
reports to the Grants Compliance Officer for grant monitoring. The LTBB Accounting Department is
responsible for completing and submitting all required financial and DBE reports. The Grants Compliance
Officer works with the program’s Staff Accountant and the LTBB CFO to ensure all financial reports and
related drawdowns are completed.

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EPA_00037114
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 50 of 93

(ii) Reporting History
All LTBB grants have been successfully reported on, including submittal of quality assurance protection
plans for data generation, environmental modeling and compilation of data; annual Tribal assessment
reports; data entry into EPA’s WQX network; water quality assessment reports (including 10-year trends
analysis); quarterly and semi-annual narrative reporting and online reporting through the Great Lakes
Accountability System (GLAS).

Utilization of Prior Year Funding

For our current project period 04/01/2023-03/31/2025, LTBB received $268,000 in Section 103 CAA
funding, award number TXOOE98406. As of November 1, 2024, the grant is about 80% expended
($211,763 of the $268,000 awarded). We anticipate using 100% of the funds by the end of the project
period. Currently Section 103 CAA funds only partially fund staff for the LTBB Air Quality Program,
therefore additional funding sources are used to cover the costs of 1.0 FTE to maintain the program.
Funding sources are prioritized by availability, ending date and the portion of FTE tracked by hours
(rather than %). Drawdowns are completed by the LTBB Accounting Department on a quarterly basis.

Organizational Experience

The LTBB Natural Resources Department consists of a full time Environmental Program staff that
includes the Environmental Services Manager, Environmental Specialist, Water Quality Biologist, Water
Quality Technician, Environmental Response Specialist, Great Lakes Policy Specialist and an
Environmental Technician. LTBB Environmental staff implement several projects within each of the five
program areas: water quality (including wetlands), air quality, environmental policy, energy
sustainability (renewable energy, energy efficiency and solid waste management) and environmental
response (including brownfields). The LTBB Natural Resources Director will serve as the LTBB Air Quality
Project Director. The Natural Resources Director has over 20 years of experience in the Natural
Resources/Environmental field and oversees all program operations, projects and staff in the LTBB
Environmental Program.

Reporting on Environmental Results —- Outputs and Outcomes
e EPA Section 103 Clean Air: Grant #TX-00E98406
e PPG FY 2023 —- FY 2024: Grant #BG96552411
e® BIA GLRI Manoomin Restoration Project: Grant #A21AV00757
e BIAGLRI Tribal Capacity Program: Grant #A23AV00580

The LTBB Environmental Program has successfully made progress toward achieving expected results
with each of the grant projects listed above. LTBB has submitted all required reports to the EPA as
documentation of the program accomplishments. In addition to the progress reports, LTBB has
completed and submitted all technical reports and data entry, as required for specific projects. Weekly
Environmental Program staff meetings occur to provide status updates on projects and address any
issues or concerns. Additionally, the Environmental Services Manager regularly meets with individual
staff to gauge progress toward objectives and implement steps for improvement. The Environmental
Services Manager also discusses and meets with the LTBB Accounting Department as needed ona
regular basis. The Environmental Services Manager, Grants Compliance Officer and Grant Facilitators
meet as needed to monitor fiscal and program progress toward project goals and identify and
implement solutions to issues. LTBB maintains regular correspondence with the assigned grant Project
Officers to address questions or concerns, discuss ideas or to provide updates outside of the normal
reporting period.

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EPA_00037115
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 51 of 93

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/27/2025 5:19:08 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: FORT WAYNE CITY UTILITIES OOE03632

Region 5 completed cancellation of Grant: FORT WAYNE CITY
UTILITIES 00E03632.

Description: DESCRIPTION: THIS AGREEMENT PROVIDES FUNDING
UNDER THE INFLATION REDUCTION ACT (IRA). THE AGREEMENT
PROVIDES FUNDING TO FORT WAYNE CITY UTILITIES (CU).
SPECIFICALLY, THE RECIPIENT WILL AIM TO INCREASE THE
NUMBER OF HOUSEHOLDS PARTICIPATING IN THE CITY OF FORT
WAYNE'S EXISTING LEAD SERVICE LINE REPLACEMENT PROGRAM
(LSLRP) THROUGH EXPANDED EDUCATION AND OUTREACH
ACTIVITIES WITH THE GOAL TO REPLACE THE LEAD SERVICE
LINES IN A TOTAL OF 1,500 RESIDENCES LOCATED WITHIN
HISTORICALLY UNDERSERVED AND DISA

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOOOOUMj5

EPA_00037116
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 52 of 93

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/27/2025 5:22:12 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: PENNSYLVANIA DEPARTMENT OF ENVIRONMENTAL PROTECTION 95337701

Region 3 completed cancellation of Grant: PENNSYLVANIA
DEPARTMENT OF ENVIRONMENTAL PROTECTION 95337701.
Description: DESCRIPTION: THE AGREEMENT PROVIDES FUNDING
TO PENNSYLVANIA DEPARTMENT OF ENVIRONMENTAL
PROTECTION (DEP). SPECIFICALLY, THE RECIPIENT AIMS TO
ENGAGE EJ COMMUNITIES BY INCREASING STRATEGIC
COMMUNITY EDUCATION, OUTREACH AND ENGAGEMENT AND
CAPACITY BUILDING THROUGH INTENTIONAL ACTION. DEP AIMS
TO CREATE AN EXPANDABLE, MANAGEABLE, AND SUSTAINABLE
PROGRAM THAT WILL ENGAGE COMMUNITIES TO BETTER
UNDERSTAND ISSUES BEFORE THERE IS AN EVENT OF CONCERN
AND PROVIDE COMMUNITIES WITH THE NECESSARY TOOLS TO
ADD

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOO00UMfu

EPA_00037117
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 53 of 93

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/27/2025 6:02:02 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-27

Attachments: Contract_Terminations_withAmounts_2025-03-27.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-27, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00037118
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 54 of 93

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-27.xIsx

EPA_00037119 - EPA_00037138
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 55 of 93

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/27/2025 8:01:04 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00037183
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 56 of 93

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00037184 - EPA_00037243
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 57 of 93

Message

|From: Brandon Bartel - B-C
[brandon.bartel@gsa.gov]

Sent: 3/27/2025 8:11:23 PM

To: Loving, Kathryn
[Loving.Kathryn@epa.gov]

ICC: Josh Gruenbaum - Q
[josh.gruenbaum @gsa.gov];
Jehling, Erica
[Jehling.Erica@epa.gov]

Subject:Re: EPA: grant terminations
up to March 25, 2025

Thank you, updated!

Caution: This email originated from outside EPA, please exercise additional
caution when deciding whether to open attachments or click on provided
links.

On Thu, Mar 27, 2025 at 1:50 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:
Hi Brandon,

Updated grants reporting attached.

Removed:
e Contracts. (I reported those a few days ago to Katrina Lloyd so those have been updated on her end.)

e 1 row pending cancellation for Climate Justice Alliance on 2/13 — I couldn’t find this in our internal
records so I think it’s a duplicate of 84082101, so I deleted that row

Changes:

Several of the previous-reported cancellation “ceiling” and “savings” amounts have changed from our previous
grant reports, so I want to explain why.

“savings” — partly related to delays in USAspending, and our previous reporting was based on usaspending.
Partly due to minor outlays happening post-cancellation. (The grantees have 120 days after “termination” to
close out.)

“ceiling” — the previous ceiling numbers were pulled from USAspending in early Feb, and the values have
been updated since then. The new values match our internal records and they match the CURRENT values
shown in USAspending.

The exception is this one grant where the ceiling does not match USAspending: 95314201. GRANT to
NATIONAL WILDLIFE FEDERATION | USAspending

USAspending says the obligated amount is $8M, but our internal records show the total to be $12M. I put
$12M as the ceiling for that one, because so far our internal records have always ended up matching
USAspending, just with a delay.

Best,
Kathryn

EPA_00037244
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 58 of 93

From: Brandon Bartel - B-C <brandon.bartel@gsa.gov>

Sent: Thursday, March 27, 2025 11:24 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>
Subject: Re: EPA: grant terminations up to March 25, 2025

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Thank you, I will update them all then.

On Thu, Mar 27, 2025 at 11:15 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Brandon — thanks. Now I know why we were so behind on contract reporting — because they were in the
grants reporting sheet!

Also, I’m noticing that for some rows I reported back in Feb, our grants team now has slightly different
ceiling and $savings amounts. So I’m going back through this line by line, hoping to get it back to you EoD.

Kathryn

From: Brandon Bartel - B-C <brandon.bartel@gsa.gov>

Sent: Thursday, March 27, 2025 10:25 AM

To: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>
Subject: Re: EPA: grant terminations up to March 25, 2025

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

I was just doing a quick review of the info I entered last night, but I am noticing some discrepancies. Are all
of these grants? A few of them look like contracts. Also, there are duplicates on the PITDs. Could you please
validate these?

On Wed, Mar 26, 2025 at 6:33 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:
Great, taking Katrina off and adding Brandon for grants

For the ones where you say "Awarded" = "no", this should go into the Misc. tab and not the grant
termination tab

EPA_00037245
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Brandon pls confirm and scrub for dupes

On Wed, Mar 26, 2025 at 6:19 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Thanks for all your team’s support on contract reporting.

Now we have a grants update! We have made a big push on these over the last week — update attached,
getting us up to $369M total savings on grants, and there should be more by next week.

Note that I did update a few of the prior rows previously submitted by Erica, in the following way: when
“Awarded?” = No, that means that this was a draft award in our internal grants system, that we cancelled
before it was awarded.

In the previous report, “potential savings” for some of these was listed as $0, but I changed them to be the
ceiling amount of the award in this submission. This is debatable but I discussed with Erica, and we think
treating this as savings is more accurate (and consistent with the 1‘ row of the spreadsheet where we did
treat this cancelled pending grant as savings).

Best,
Kathryn

From: Brandon Bartel - B-C <brandon.bartel@gsa.gov>

Sent: Tuesday, March 25, 2025 3:40 PM

To: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>; Katrina Lloyd - QF2C
<katrina.lloyd@gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>
Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Please see attached and let me know if you have any questions!

On Tue, Mar 25, 2025 at 3:20 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:

Brandon, please sent Kathryn the EPA logs for contracts and grants (just like you did for HHS)

Kathryn, please log per the template so that it is all uniform

Thanks, both!

On Tue, Mar 25, 2025 at 3:06 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

EPA_00037246
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Would you all mind sending back the full xlsx file when you are done — the version I sent you didn’t have
those POLITICO contracts from early Feb that start with 89.

I’m also not sure if I’m using the columns you expect.

I want to make sure that my numbers match perfectly with your numbers going forward, and that I’m
reporting in a format that you don’t have to mess with.

Thanks,
Kathryn

From: Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Sent: Tuesday, March 25, 2025 2:10 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Jehling, Erica
<Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Got it. Thank you!

Jennifer Rapé

Strategic Program Advisor, Office of Customer Care
Office of Customer and Stakeholder Engagement
Federal Acquisition Service

U.S. General Services Administration

404-272-3968 / Jennifer.Rape@gsa.gov

On Tue, Mar 25, 2025 at 1:03 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Jennifer,

Yes, PUD GSOOFI17CA is the Reference PIID for order 68HE0324F0042-P00002. (I put that
order/mod# in the wrong column, sorry.) That is a GMG MANAGEMENT CONSULTING INC.
contract for $75,021

The row you screenshotted below is for contract (order) 63HERH25P0029, which does not have a
reference ID.

EPA_00037247
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Kathryn

From: Jennifer Rape - QCC <jennifer.rape@ gsa.gov>

Sent: Tuesday, March 25, 2025 12:43 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>; Jehling,
Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good Morning, Please verify the submission for Contract/Order # PIID 683HERH25P0029/ Reference
PIID (order number) 68HE0324F0042-P00002. Both PIIDs referenced are order #s.

Is this submission for Contract/Order # PIID GSOOF117CA Reference PIID (order
number) 68HE0324F0042-P00002?

Contract/Order #/ PIP Reference PIID (order Contract Description ae Contract Ceiling
v number) ’ Y y Vali ~

2025 National Environmental Justice Terminated for
68HERH25P0029 68HE0324F0042-P00002 Conference and Training Program Convenience $20,000

Thank you in advance,

Jennifer Rapé

Strategic Program Advisor, Office of Customer Care
Office of Customer and Stakeholder Engagement
Federal Acquisition Service

U.S. General Services Administration

404-272-3968 / Jennifer.Rape@gsa.gov

On Tue, Mar 25, 2025 at 8:02 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Hi Katrina, you have it right. I looked up a few of these in FPDS, and what I notice is that when there is
no “reference” ID (i.e. it’s “0” in the spreadsheet), then the contract # column is the PID in FPDS. But
when there is a reference ID, then that reference number is the PIID in FPDS, and then the “contract #”
is the “referenced IDV ID” in FPDS, as you noted.

Thanks for forcing us to understand this better — I think in the report we are getting from the staff, they
are mixing up the “contract?” and “reference” columns for the rows where contracts that have a
reference. All the info is there though, sorry this is confusing.

EPA_00037248
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For example search for PID 68HERH23F0127 as a good example — the reference "68HERH19D0029"
is the referenced IDV. But if you search for PITID: 68 HEOP24P0007 — it has no reference ID in our
spreadsheet, and no reference in FPDS.

The part I could not get to match with FPDS is the mod#. For example, when you search for PUD
68HERH23F0127, you can see mod P000014, but not P000013 — My guess on this is that the mod

number increased when we cancelled the contract (and you can see the mod date is 3/10), and FPDS
does not store every mod.

Kathryn

Get Outlook for iOS

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Sent: Tuesday, March 25, 2025 7:38:33 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Josh Gruenbaum - Q <josh.gruenbaum @gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe -
QCCB <jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Hi Kathryn,

Thank you for the updated EPA submission. Please let me know if I have the correct understanding of
how EPAs Contract # and Reference PIIDs are assigned. I'm interpreting this latest submission as EPA
has awarded an IDIQ or BPA. For the IDIQ or BPA, a "Reference PIID" is assigned. Any "orders"
issued off of the IDIQ or BPA are assigned a "Contract #." Both the Reference PIID and associated
Contract # will be different numbers. However, there will be instances where Contract #s will be the
same but associated with different Reference PIIDs.

Essentially, it looks like the Contract numbers are being reused but associated with different Reference
PIIDs. If this is correct, please confirm if in these instances, the Contracts are separate and distinct with
different contract requirements.

Thank you!

EPA_00037249
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 63 of 93

U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service
katrina. lloyd@gsa.gov
Phone 267-588-9975

On Mon, Mar 24, 2025 at 6:25 PM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:
Hi Josh,

Improved list attached. I was only including the contract number before, but now I’ve started using the
column “Reference PITD” to hold a combined “order number” ”mod number” for each contract - I am
told that all 3 numbers (contract, order, mod) are required to make sure there are no duplicates.

But there was actually 1 duplicate! I have used “strikethrough” on it in line 55, and it has no numbers
in the contract value columns for that one.

Except for the strikethrough, the attached list is the same as what I sent you on March 22, except with
that bonus “order mod” Reference column filled in.

I also added a column “Already in Josh’s list?” = yes, if this was already reported in the table you
pasted in this email thread, to make it easier for you to reconcile.

(I did not include the POLITICO “CASE NAM” entries that are in your list, because I wasn’t sure
what those are, and they’re not in our internal list — I’m guessing those were maybe GSA following up
on the POLITICO subscription cancelations?)

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Kathryn

From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Sent: Monday, March 24, 2025 8:50 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>

Ce: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>; Jon Dewolfe - QCCB
<jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

I think you guys were late on submissions and I believe a bunch of what was in there was new that we
had not logged so, if ok, I advise for you to work with the team to figure out what are new entries and
what are duplicates

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh.gruenbaum@gsa.gov

EPA_00037251
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 65 of 93

On Mon, Mar 24, 2025 at 8:48 AM Loving, Kathryn <Loving.Kathryn@epa.gov> wrote:

Sorry about that guys — I think Erica did the previous submission, and I didn’t see it in my email, so
that’s why I thought we were behind on submissions. But it sounds like we were not. And also that I
need to go through our internal contract list to get rid of duplicates!

Thanks,
Kathryn

From: Katrina Lloyd - QF2C <katrina.lloyd@gsa.gov>

Sent: Monday, March 24, 2025 7:29 AM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>

Cc: Jon Dewolfe - QCCB <jonathan.dewolfe@gsa.gov>; Jennifer Rape - QCC <jennifer.rape@gsa.gov>; Josh
Gruenbaum - Q <josh.gruenbaum@gsa.gov>

Subject: Re: Contract Termination Shell

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good Morning,

In addition to Josh email, the EPA spreadsheet provided includes several contract # duplicates (I
counted 12) with different ceiling and savings values. We can't include duplicates in the GSA
termination log. Within your updated spreadsheet submission, please ensure there are no duplicate
entries.

Thank you!

EPA_00037252
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U.S. General Services Administration

Katrina Lloyd

Senior Program Analyst
Office of the Commissioner
Federal Acquisition Service
katrina. lloyd@gsa.gov
Phone 267-588-9975

On Sat, Mar 22, 2025 at 4:48 PM Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov> wrote:
Hey guys

Great!

See below for what we have from you all already. Please re-submit just new entires that haven't been

logged yet so we can ensure no duplicates, and yes, send over whenever you get these real time
going fwd, please and thank you!

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377

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PIID (required)
68HERC24A0014
68HERC24A0013
68HERC24A0012
68HERH24P0143
68HERC23P0042
68HERD23P0034
68HERH24P0156
89303025PMA000335
89243623FCD000005
89303024PGC000024

89303022CIM000010

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8930302 1CLP000012
89303023PFE000093
89303022PMA000265
89303025PGD000003
89303024POP000005
89303024PFE0001 16
89303024PCI000010
89303024PED000058
89303025P1G000148
89303024PE1000105
89303025FE1400159

68HERH23F 0237
Reference PIID (optional)
GSO00F120DA

GS35F013CA

GS02F156AA

03310319D007 1

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03310323D0056

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Date Filed 04/21/25

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Vendor

Jefferson
Consulting

FEDERAL
MANAGEMENT
PARTNERS, LLC

Business Mgmt.
Assoc.

Lighthouse
Strategy
Consulting

GARTNER, INC.
POLITICO, LLC
POLITICO, LLC
Politico
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Entry Number 109

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EPA_00037258
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SERVICES Convenience $95,922.00 $0.00

COVERING

EMPLOYEE

EXPERIENCE,

DIVERSITY,

EQUITY, INCLUSION

AND

ACCESSIBILITY,

EPA_00037260
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AND WORK LIFE
INTEGRATION.

E&E NEWS 12
MONTH BASE
PERIOD AND 12
MONTH OPTION
PERIOD
SUBSCRIPTION
ACCESS FOR FIVE
SCIENTIFIC AND
POLICY
PUBLICATIONS:
ENERGYWIRE,
CLIMATEWIRE,
GREENWIRE, E&E
DAILY, AND E&E
NEWSPM.

POLITICO PRO
PLUS/PRO
ANALYSIS
SUBSCRIPTION TO
CONSOLIDATE 4
PROGRAM
OFFICES FOR 117
USERS-1-YEAR
SUBSCRIPTION.

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Politico LLC)
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publications.

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News (Politico) LLC
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Climatewire, E&E
Daily, Greenwire, and
E&E News PM for

Date Filed 04/21/25

Terminated for
Convenience

Terminated for
Convenience

CASE NAM
update:
customer states
that contract
was terminated

CASE NAM
update:
customer states
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CASE NAM
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CASE NAM
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customer states
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Entry Number 109

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EPA_00037261
2:25-CVv-02152-RMG

LPO's use program-
wide.

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Year Subscription for
25 users.

Award 30 user seat
license contract to
Politico LLC dba E&E
News for 12 mos
digital subscriptions
within the Office of
the Secretary in the
amount of $29,808.00
for the period
05/04/2022-05/03-
2022.

8
licenses/subscriptions
of E&E NEWS for the
Grid Deployment
Office.

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slots for E&E News
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ClimateWire,
GreenWire, and
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one-year subscription
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(FE) HQ with access
available to FE HQ
Staff. Period of
Performance
06/28/2024-
06/27/2025.

E&E News electronic
subscription renewal
3/1 1/24-3/10/25

Subscription for daily
comprehensive,
timely, objective
journalistic analysis,
news and information
on significant policy,
legislation, science,
legal, regulatory
affairs, and industry
developments across

Date Filed 04/21/25

CASE NAM
update:
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that contract
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Entry Number 109

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$29,040.00 $0.00

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EPA_00037262
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the environment and
energy spectrum.

CASE NAM
To procure a 1-year update:
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(E&E News) 15 seats that contract
was terminated

The purpose of this

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requirement is to update:
procure an annual = ae $13,575.00 $13,575.00 $0.00

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subscription for RTM
and OA users.

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price order with
Politico, LLC. to
procure Politico Pro
Plus subscription for
one year for 3 users.

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was terminated

THIS CALL ORDER
IS TO AWARD A

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ENVIRONMENTAL — CONVENIENCE $6,895,921.10 $6,895,921.10
JUSTICE AND CIVIL
vonte (COMPLETE
OR PARTIAL)

PROGRAMMING
AND LEARNING.

U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh. gruenbaum @gsa.gov

EPA_00037263
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Date Filed 04/21/25

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U.S. General Services Administration

Josh Gruenbaum

Commissioner of Federal Acquisition Service
202-815-3780

josh, gruenbaum @qsa.gov

EPA_00037264
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Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/27/2025 9:54:55 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: UNIVERSITY OF MAINE SYSTEM 97T06901

Region 9 completed cancellation of Grant: UNIVERSITY OF MAINE
SYSTEM 97T06901.

Description: DESCRIPTION: THIS PROJECT PROVIDES FUNDING TO
UNIVERSITY OF MAINE TO IMPLEMENT ITS PROJECT, WHICH WILL
DESIGN, DEMONSTRATE, AND DISSEMINATE ENVIRONMENTAL
EDUCATION PRACTICES, METHODS, AND TECHNIQUES, THAT WILL
SERVE TO INCREASE ENVIRONMENTAL LITERACY AND
ENCOURAGE BEHAVIOR THAT WILL BENEFIT THE ENVIRONMENT IN
THE REPUBLIC OF PALAU. THE GRANTEE WILL DO THIS THROUGH
EFFORTS TO ENGAGE PALAUAN HIGH SCHOOL STUDENTS IN AN 8-
WEEKINTENSIVE EDUCATION PROGRAM TO DEVELOP CRITICAL
THINKING, PROBLEM-SOLVING,

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO0O00OUMmP

EPA_00037265
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Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/28/2025 6:02:14 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-28

Attachments: Contract_Terminations_withAmounts_2025-03-28.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-28, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00037266
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 80 of 93

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Contract_Terminations_withAmounts_2025-03-28.xIsx

EPA_00037267 - EPA_00037286
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 81 of 93

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/28/2025 8:00:38 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00037287
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 82 of 93

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/29/2025 6:02:07 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-29

Attachments: Contract_Terminations_withAmounts_2025-03-29.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-29, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00037348
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 83 of 93

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Original file name:

Contract_Terminations_withAmounts_2025-03-29.xIsx

EPA_00037349 - EPA_00037368
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 84 of 93

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/29/2025 8:00:18 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00037369
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 85 of 93

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Original file name:

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EPA_00037370 - EPA_00037435
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 86 of 93

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/30/2025 8:01:11 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00037436
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 87 of 93

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Original file name:

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EPA_00037437 - EPA_00037502
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 88 of 93

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/18/2025 6:01:27 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-18

Attachments: Contract_Terminations_withAmounts_2025-03-18.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-18, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00037503
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 89 of 93

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Original file name:

Contract_Terminations_withAmounts_2025-03-18.xIsx

EPA_00037504 - EPA_00037523
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 90 of 93

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/31/2025 6:01:38 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-31

Attachments: Contract_Terminations_withAmounts_2025-03-31.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-31, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00037524
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 91 of 93

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Original file name:

Contract_Terminations_withAmounts_2025-03-31.xIsx

EPA_00037525 - EPA_00037544
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 92 of 93

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/31/2025 8:00:48 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00037545
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109 Page 93 of 93

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EPA_00037546 - EPA_00037611
